 F¡ll in this information to identify your case

 United States Bankruptcy Court for the:

 DISTRICT OF ARIZO NA. PHOENIX DIVISION

 Case numberpt*nown¡                                                             Chapter you are filing under:

                                                                                 I   chapter 7
                                                                                 E   Chapter   11

                                                                                 E   Chapter 12
                                                                                 E   Chapter 13                                    E   Check if this an amended
                                                                                                                                       filing




Official Form 101
Voluntary Petition for lndividuals Filin g for Bankruptcy                                                                                                         12t17
The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may f¡le a bankruptcy case together-called a¡'ornf
case-and in jo¡nt cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When ¡nformation ¡s needed about the spouses separately, the form uses Debfor l and Debtot 2 to dist¡ngu¡sh
between them. ln joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same pêrson must be Debtor I in all
of the forms.

Be as complete and accurate as possible. lf two marr¡ed people are filing together both are equally responsible for supplying correct ¡nformat¡on. lf more
space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer every
quest¡on,


 Part   1    ldent¡fy Yourself

                                       About Debtor   I                                                About Debtor 2 (Spouse Only in a Joint Case):

 1.     Your full name

        Write the name that is on      Kyle                                                             Michelle
        your government-issued         First name                                                       First name
        picture identif ication (for
        example, your driver's         Christopher                                                      Louise
        license or passport).
                                       Middle name                                                      Middle name
        Bring your picture
        identification to your                                                                          Oldfield
        with the trustee.                  name and            r., Jr., ll,                             Last name and Suffix (Sr., Jr., ll, lll)




 2.     All other names you have
        used in the last I years
        lnclude your married or
        maiden names.



 3.     Only the last 4 d¡g¡ts of
        your Social Security
        number or federal              xxx-xx-2550                                                      xxx-xx-0594
        lndividual Taxpayer
        ldent¡f¡cat¡on number
        (rrN)




Offìcial Form 101                                   Voluntary Petit¡on for lndíviduals Filing for Bankruptcy                                                  page   I
             Case 2:18-bk-08695-BKM                        Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                            Desc
                                                           Main Document    Page 1 of 54
Debtor   1

Debtor 2     Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                          Case number(¡fknown)




                                  About Debtor    l:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer ldentification
     Numbers (ElN) you have       I   I have not used any business name or ElNs.                    I    I   have not used any business name or ElNs.
     used in the last I years

     lnclude trade names    and   Business name(s)                                                  Business name(s)
     doing business as names

                                  ElNs                                                              EINs




5.   Where you live                                                                                 lf Debtor 2 lives at a different address:

                                  29203 N 50th Pt
                                  Cave Creek, AZ 85331-2350
                                  Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                  Maricopa
                                  County                                                            County

                                  lf your mailing address is different from the one                 lf Debtor 2's mail¡ng address is different from yours, fill it in
                                  above, fill ¡t ¡n here. Note that the court will send any         here. Note that the court will send any notices to this mailing
                                  notices to you at th¡s mailing address.                           address.



                                  Number, P.O. Box, Streel, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing         Check one:
     fhr.ç drbfricf to file for                                                                     Check one:
     bankruptcy                   I      Over the last 180 days before filing this petition,    I

                                         have lived in this distr¡ct longer than ¡n any other
                                                                                                    I          Over the last 180 days before filing th¡s petition, I have
                                         district.                                                             lived in this district longer than in any other district.

                                  E      I have another reason                                      tr         I have another reason.
                                         Explain. (See 28 U.S.C. S 1408.)                                      Explain. (See 28 U.S.C. S 1408.)




Offìcial Form   101                            Voluntary Petition for lndividuals Filing for Bankruptcy                                                           page2
             Case 2:18-bk-08695-BKM                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                 Desc
                                                        Main Document    Page 2 of 54
Debtor I
Debtor 2     Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                                   Case numberl,fknown)


ParI2:     Tell the Court About Your Bankruptcy Case

7     The chapter of    the     Check one. (For a brief description of each, see Notrbe Required by 11 U.S.C. S 342(b) for lndividuats Filing for Bankruptcy                (Form
      Bankruptcy Code you   are 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file   under
                                r chapter 7
                                E Chapter 11
                                E Chapter 12
                                E Chapter 13

8.    How you will pay the fee       T            I wil! pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                                  about how you may pay. Typically, if you are palng the fee yourself, you may pay with cash, cashier's check, or money order.
                                                  lf your attorney is submitting your payment on your behalf , your attorney may pay with a credit card or check with a
                                                  pre-prlnted address.
                                     tr           I need to pay the fee ¡n ¡nstallments. lf ¡/ou choose this option, sign and attach the Applrbation for lndividuals to Pay The
                                                  Filing Fee ¡n lnstallments (Official Form I 034).
                                     tr           I request  that my fee be waived (You may request this option only if you are f¡ling for Chapter 7. By law, a judge may, but is
                                                  not required to, waive your fee, and may do so only if your income is less than 150% of ihe official poverty line that appl¡es to
                                                  your family size and you are unable to pay the fee in installments). lf pu choose this option, you must fill outlhe Application
                                                  to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



9.    Have you filed for             I    tr¡o.
      bankruptcy within the last
      8 years?                       E    Yes
                                                       District                                   When                              Case number
                                                       Dishict                                    When                              Case number
                                                       District                                   When                              Case number



10.   Are any bankruptcy cases       Iruo
      pending or be¡ng filed by
      a spouse who is not filing     E    Yes
      this case with you, or by
      a business partner, or by
      an aff¡l¡ate?
                                                       Debtor                                                                      Relationship to you
                                                       District                                   When                             Case number, if known
                                                       Debtor                                                                      Relationship to you
                                                       District                                   When                             Case number, if known



11.   Do you rent     your           I    t¡o.          Go to line 12.
      residence?
                                     E    Yes.          Has your landlord obtained an eviction judgment against you?

                                                         tr       No. Go to line 12.

                                                         tr       Yes. Fill ouf lnitial Statement About an Eviction Judgment Against You (Form 1 014) and file it as part of this
                                                                  bankruptcy petition.




Official Form   101                                     Voluntary Pet¡tion for lndividuals Fil¡ng for Bankruptcy                                                        page 3
           Case 2:18-bk-08695-BKM                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                                  Main Document    Page 3 of 54
Debtor    1

Debtor 2       Oldfield, Kyle C hristopher & Oldfield, Michelle Louise                                            Case number¡ir*nown¡



Part 3:       Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full. or part-time         I ruo.       Go to Part 4.
    business?
                                      E   yes.     Name and location of business
      A sole proprietorship   ¡s a
      business you operate as an                   Name of business, ¡f any
      individual, and is not a
      separate legal entity such as
      a corporat¡on, partnership,
      or LLC.
      lf you have more than one                    Number, Street, City, State & ZIP Code
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                            Check the appropriate box to descr¡be your business:
                                                   tr        Health Care Business (as defined in 11 U.S.C. S 101(27A))

                                                   tr        SingleAsset Real Estate (as defined ¡n 11 U.S.C. S f 01(518))
                                                   tr        Stockbroker (as defined in 11 U.S.C. S 101(534))

                                                   tr        Commodity Broker (as defined ¡n 11 U.S.C. S 101(6))

                                                   tr        None of the above

13.   Are you filing under            lf you are filing under Chapter 1 1 , the court must know whether you are a smail bus¡hess debtor so that it can set appropriate
      Chapter    llofthe              deadlines. lf you ¡ndicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are         operat¡ons, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in   1 1
      you a smar, öusiness            u.s.c. 1116(1XB).
      debtor?

      For a definition of small
                                      I t¡o.       I   am not filing under Chapter   11

      busrness debtor, see 11
      u.s.c. s 101(51D).              E f.¡o.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                   Code.

                                      E   Yes.     I am fìling   under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

14,   Do you own or have       any I      l¡o.
      property that poses or is
      alleged to pose a threat of     E   yes.
      imminent and identifiable                  What is the hazard?
      hazard to public health or
      safety? Or do you own
      any property that needs                    lf immediate attention   ¡s
      immediate attent¡on?                       needed, why is it needed?

      For example, do you own
       per¡shable goods, or
      livestock that must be fed,                Where is the propertf
      or a build¡ng that needs
      urgent repairs?
                                                                                 Numþer, StreeÌ, utty, state & ¿¡p oode




Offìcial Form    101                              Voluntary Pet¡t¡on for lndividuals Filing for Bankruptcy                                                     page 4
              Case 2:18-bk-08695-BKM                         Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                           Desc
                                                             Main Document    Page 4 of 54
Debtor    1

Debtor 2       Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                        Case numberl¡fknown)

Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the courtwhether              You must check one:                                              You must check one:
     you have received a
     briefing about credit
                                       I   I received a briefing from an approved cred¡t
                                                                                                        I   I received a briefing from an approved credit
                                           counseling agency w¡thin the 180 days before           I         counseling agency within the 180 days before I filed
     counseling.                           filed this bankruptcy petit¡on, and I received a                 this bankruptcy petition, and I received a cert¡f¡cate of
                                            cert¡f¡cate of completion.                                       completion.
     The law requires that you
     receive a briefing about               Attach ã copy of the certificate ãnd the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you           if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of      tr   I rece¡ved a briefing from an approved credit               tr   I received a briefing from an approved cred¡t
     the following choices. lf you          counseling agency within the 180 days before I                   counseling agency with¡n the 180 days before I filed
     cannot do so, you are not              filed this bankruptcy petit¡on, but I do not have a              this bankruptcy pet¡t¡on, but I do not have a cert¡f¡cate
     eligible to file.                      ceÍ¡f¡cate of completion.                                        of completion.

     lf you file an) ¡úay, the court        Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you             you MUST file a copy of the certif¡cate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee          plan, if any.
     you paid, and your creditors
     can begin collection              E    I certify that I asked for credit counseling                tr   I certify that I asked for credit counseling services
     activities again                       services from an approved agency, but was                        from an approved agency, but was unable to obta¡n
                                            unable to obta¡n those services during the 7                     those services during the 7 days after I made my
                                            days after I made my request, and ex¡gent                        request, and exigent c¡rcumstances mer¡t a 30-day
                                            circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                            of the requirement.
                                                                                                             To ask for a 30-day temporary waiver of the requirement,
                                            To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                            requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                            efforts you made to obtain the briefing, whyyou were             you filed for bankruptcy, and what exigent circumstances
                                            unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                            what ex¡gent circumstances required you to file this
                                            case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                             your reasons for not receiving a briefing before you filed for
                                            Your case may be dismissed if the court is                       bankruptcy.
                                            dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                        lf the court is satisfied w¡th your reasons, you must still
                                            lf the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                            still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                            You must file a certificate from the approved agency,            the payment plan you developed, if any. lf you do not do so,
                                            along with a copy of the payÌent plan you developed,             your case may be dismissed.
                                            if any. lf you do not do so, your case may be
                                            dismissed.                                                       Any extension of the 30-day deadline is granted only for
                                                                                                             cause and is limited to a maximum of 15 days.
                                            Any extension of the 30-day deadline is granted only
                                            for cause and is limited to a maximum of 15 days.
                                       tr   I am not required to receive a briefing about               tr   I amnot required to receive a briefing about cred¡t
                                            credit counseling because of:                                    counseling because of:

                                            tr     lncapacity,                                               tr     lncapacity.
                                                   I have a mental illness or a mental deficiency                   I have a mental illness or a mental deficiency that
                                                   that makes me incapable of realizing or makinç                   makes me incapable of realizing or making rational
                                                   rational decisions about finances.                               decisions about finances.

                                            tr     Disability.                                               EI     Disab¡l¡ty.
                                                  My physical disability causes me to be unable                     My physical disability causes me to be unable to
                                                  to participate in a briefing in person, by phone,                 participate in a briefing in person, by phone, or through
                                                  or through the internet, even after I reasonably                  the internet, even after I reasonably tried to do so.
                                                  tried to do so.

                                            tr    Active duty.                                               tr     Active duty.
                                                   I am  currently on active military duty in a                     I am currently on active military duty in ã military
                                                   military combat zone.                                            combat zone.
                                            lf you believe you are not required to receive a br¡efing        lf you believe you are not required to receive a briefing about
                                            about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                            waiver credit counseling w¡th the court.                         counseling with the court.




Official Form 101                                  Voluntary Petition for lndividuals F¡l¡ng for Bankruptcy                                                       page 5
              Case 2:18-bk-08695-BKM                        Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                            Main Document    Page 5 of 54
                                                    Certificate Number: 02998- AZ-CC-031229833

                                                  ililIililllilt|Iilil I il ililI I il I ilililII ilI|Iiltilililt|I il ]t
                                                                        02998-ALCC-031229833




                                           TE

  I CERTIFY that on June 25. 2018, at 12:09 o'clock PM EDT Kvle Oldfield
  received from Consumer Education S ervices. Inc.. DBA Start Fresh Today/DBA
  Affordable Bankruptcy Course, an agency approved pursuant to 11 U.S.C. g 111
  to provide credit counseling in the District of Arizona, an individual [or group]
  briefing that complied with the provisions of 1l U.S.C. $$ 109(h) and 1L1.
  A debt repayment plan was not prepared. If a debt repayment plan was prepared,                                       a
  copy of the debt repayment plan is attached to this certificate.

  This counseling session was conducted by internet.




  Date:    une     2018                            By:         /s/Gloria Wrisht


                                                   Name: Gloria


                                                   Title:      Counselor




  * Individuals who wish to file a bankruptcy case under title 1 1 of
                                                                      the United States Bankruptcy
  Code are required to file with the United States Bankruptcy Court a completed certificate of
  counseling from the nonprofit budget and credit counseling agency that provided the individual
  the counseling services and a copy of the debt repayment plan, if any, developed through the
  credit counseling agency. See Il U.S.C. $$ 109(h) and 521(b).




Case 2:18-bk-08695-BKM          Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                      Desc
                                Main Document    Page 6 of 54
                                                    Certificate Number: 02998-AZ-CC-031229834

                                                 ll I   II   liltil]   I   I   il   il I                    ll]
                                                                                        il il il I I il I il il I I il I I I   ilt   I   llil   I   ll   llt ]t
                                                                                       02998-ALCC-O31229834




                         Cnn          CATE ON CO                                                        G


  I CERTIFY that on June 25. 2018 , at 12:09 o'clock pM EDT, Michelle Oldfield
  received from Consumer Education Services. Inc.. DBA Start Fresh Todav/DBA
  Afforda ble Bankruotcv Course- an agency approved pursuant to 11 U.S.C. $ 111
  to provide credit counseling in the istrict of Arizon an individual [or group]
  briefing that complied with the provisions of 11 U.S.C. $$ 109(h) and 111.
  A debt repayment plan was not prepared. If  a debt repayment plan was prepared, a
  copy of the debt repayment plan is attached to this certificate.

  This counseling session was conducted by internet.




  Date:   June   2-5.   18                         By:             /s/Gloria V/risht


                                                   Name: Gloria Wrisht


                                                   Title:          Counselor




  * Individuals who wish to file a bankruptcy case under title l1 of the United States Bankruptcy
  Code are required to file with the United States Bankruptcy Court a completed certificate of
  counseling from the nonprofit budget and credit counseling agency that provided the individual
  the counseling services and a copy of the debt repayment plan, if any, developed through the
  credit counseling agency. See lI U.S.C. $$ 109(h) and 521(b).




Case 2:18-bk-08695-BKM         Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                                              Desc
                               Main Document    Page 7 of 54
Debtor    1

Debtor 2       Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                                       Case number¡rrtnown,l

Part 6        Answer These Questions for Reporting Purposes

16.   What kind of debts do              16a.      Ar9 Your debts primarily consumer debls? Consumer debfs are defined in 1 1 U.S.C.g 101(B) as "incurred by an
      you have?                                    individual primarilyfor a personal, family, or household purpose."

                                                   I     No. Go to line 16b.

                                                   E     Yes. Go to line 17.
                                     1    6b.      Are your debts primarily business debts? Bus¡,hess debfs are debts that you incurred to obtain money
                                                   for a business or investment or through the operation of the business or investment.
                                                   E     No. Go to line 16c.

                                                   I    Yes. Go to line 17.
                                     1   6c.       State the type of debts you owe that are not consumer debts or business debts



'17. Are you filing under            E t¡o.        I   am not filing under Chapter 7. Go to line 18.
      Chapter 7?

      Do you estimate that after
      any exempt property ¡s
                                     I yes. paid
                                            I am filing under Chapter           7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                                          that funds will be available to distribute to unsecured creditors?
      excluded and
      adm¡nistrative expenses                      E     tto
      are paid that funds will be
      available for distr¡but¡on                   I    Yes
      to unsecured creditors?

18.   How many Creditors do
      you estimate that you
                                     I  r-+g                                                    E r,ooo-s,ooo                                 E     zs,oor-so,ooo
      owe?                           EI so-sg                                                   E soor-ro,ooo                                 E     so,oor-too,ooo
                                     E too-rgs                                                  E ro,oor-zs,ooo                               E     More than100,000
                                     E zoo-ggg

19.   Howmuch doyou                  E     $o - $so,ooo                                         E    $t ,ooo,oor - $10 miilion                E     $soo,ooo,oo1 - $1 biilion
      estimate your assets to
                                     D $so,oor     - $1 oo,ooo                                  D $to,ooo,oor - $50     milion                E     $r ,ooo,ooo,oo1 - $10 bilion
      be worth?
                                     E     $roo,oor - $soo,ooo                                  E    $so,ooo,oor - $1oo miilion               E     $ro,ooo,ooo,oo1 - $50 birion
                                     I     $soo,oot - $1 miilion                                tr   $1oo,ooo,oo1 - $soo miilion              E     More than $50 billion

20.   Howmuch doyou                  E     $o - $so,ooo                                         E    $1 ,ooo,oo1 -$10 miilion                 E $soo,ooo,oo1 - $'r birion
      est¡mate your liabilities to
      be?
                                     E     $5o,oo1 -$loo,ooo                                    E    $t o,ooo,oor - $50 miltion               El $r ,ooo,ooo,oo1 - $'r o bilion
                                     E     $roo,oor - $soo,ooo                                  E    $so,ooo,oor - $1oo milion                E     $r o,ooo,ooo,oo1 - $50 bilion
                                     I     $soo,oot - $1 mirion                                 E    $roo,ooo,oo1 - $5oo miilion              E     More than $50 billion


Paft7         Sign Below

For you                              I have examined           this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                     lf lhave chosen to file underChapter 7, lam aware that I may proceed, if eligible, under Chapter 7,11,12,or 13 of title 11, United
                                     States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                     lf no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document,                  I
                                     have obtained and read the notice required by 11 U.S.C. S 342(b).

                                     I   request relief in accordance with the chapter of title 't 1, United States Code, specifled in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                                      fines     to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. SS 1ú2, 1341 ,1519, and 3571 .
                                                                                                                       /lMrL,0r¡. loi                      -,rv
                                                  of
                                                                                                                     Miüh'elle Louìsã Oldfield        \J
                                                                                                                     Signature of Debtor 2

                                     Executed     on      July 23, 2018                                              Executed   on   Julv 23. 2018
                                                          MM/DD/YYYY                                                                 MM/DD/YYYY




Official Form 101                                      Voluntary Petition for lndividuals Filing for Bankruptcy                                                               page 6
              Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                    Desc
                                                                   Main Document    Page 8 of 54
Debtor 1
Debtor 2    Oldfield, Kyle Ghri stopher & Oldfield, Michelle Louise                                        Case number6frnown¡




For your attorney, if you are   l, the attorney for the debto(s) named in this petit¡on, declare that I have informed the debto(s) about elig¡bility to proceed under
represented by one              Chapter 7, 11 , 12, or 1 3 of title 11, United States Code, and have explained the relief available under each chapter for which the

lf you are not represented by
                                                                                                                              ll
                                person ¡s eligible. I also certify that I have delivered to the debto(s) the notice required by    U.S.C. S 342(b) and, in a case in
                                which $ 707(b)(4)(D) applies, certifythat I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition ¡s
to f¡le this page.
                                                                                                     Date        July 23,2018
                                            of                                                                   MM/DD/YYYY

                                D L. Hawkins

                                Aiken             k Hawkins & Ricciardi P.C.
                                     name



                                2390 E Camelback Rd Ste 400
                                        AZ 85016-3479

                                conractphone     (6021248-8203                                 Ema¡l address        dlh(@ashrlaw.com
                                0t




Offìcial Form   101                          Voluntary Petition for lndividuals Filing for Bankruptcy                                                       page 7
           Case 2:18-bk-08695-BKM                    Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                Desc
                                                     Main Document    Page 9 of 54
                        Fill in this information to identify your case and this filing

    Debtor          1                                                    Oldfield

    Debtor 2                             Michelle Louise Oldfield
    (Spouse, if fil¡ng)                     Name
                                         First                  tU¡ddle ttam


    United States Bankruptcy Court for                       the:         DISTRICT OF ARIZONA, PHOENIX DIVISION

    Case number
                                                                                                                                                                      tr   Check if this is an
                                                                                                                                                                           amended filing



Official Form 1064/8
Schedule A/B: Property                                                                                                                                                                 12t15
                                                                                                                                                                                        you




    Part I          Describe Each Residencê, Building, Land, or Other Real Estate You Own or Have an lntêrest ln

1   .   Do you own or have any legal or equitable interest ¡n any residence, building, land, or similar property?

        E    No.    co to part    2.

        I    Yes. Whe¡e        is the property?




    1.1                                                                                What is the property? Check     all that apply


             29203 N 50th Pt
                                                                                         I   Single-family home                            Do not deduct secured claims or exemptions. Put
                                                                                             Duplex or multi-unit building                 the amount of any secured claims on Schedule D:
             sreet address,      ¡1   ava¡tabte, or other descript¡on                    ¡                                                  Creditors Who Have Claims Securcd by Property.
                                                                                             Condominium or cooperative
                                                                                         ¡
                                                                                         !   Manufactured or mobile home
                                                                                                                                           Current velue of the
             Cave Creek                             AZ         85331-2350                E   Land                                          entire property?
                                                                                                                                                                       Current valuê of thè
                                                                                                                                                                       portion you own?
             C¡ty                                    State              ZIP Code         E   lnvestment property                                 $345,000.00
                                                                                         E   Timeshare
                                                                                                                                           Describe thê nature of your ownèrship interest
                                                                                         E   other                                         (such as fee simple, tenancy by the entireties, or
                                                                                       Who has an interest in the property? check one      a l¡fe estate), if known.
                                                                                         E   Debtor 1 onty                                 CPROS
             Maricopa                                                                    E   Debtor 2 only
             County                                                                      I   Debtor   I   and Debtor 2 onlv
                                                                                                                                                                  commun¡ty property
                                                                                         E    At reast one of the debtors and    another   tr3:"ï:,1Íål#.is
                                                                                       Other infomation you wish to add about this ¡tem, such as local
                                                                                       property ¡dentifi cation number:
                                                                                       APN211-42-942


 2          Add the dollar value of the port¡on you owrì for alt of your entries from Part 1, including any entries for pages
            you have attached for Part't. Write that number                           here..................
                                                                                             .....................-.._.......=>                                            $345,000.00
 Parl2              Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles you own that
someone else drives. lf you lease a vehicle, also report it on Schedu/e G: Executory Contracts and Unexpired Leases.




Official Form 1064,/8                                                                      Schedule A/B: Property                                                                        page    1

Software Copyr¡ght (c) 2018 ClNGroup - www.c¡ncompass.com



             Case 2:18-bk-08695-BKM                                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                            Desc
                                                                                   Main Document    Page 10 of 54
 B:iT:il               otdfierd, Kyte christopher & otdfietd, Michele Louise                                    Case number(¡f known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

     E    r',¡o

     I    yes


   3.1       Make:          Toyota                             Who has an interest ¡n the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
             Model:         Camry                              f   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
             Year:          2014                               E   Debtor 2 only                                       Current value ofthe       Current value of the
             Approximate mileage:                 75000        E   Debtor   t   and Debtor 2 only                      entire   property?        portion you own?
             Other informat¡on:                                E   At least one of the debtors and anolher


                                                               E   Check ¡f this is community property                           $9,535.00                  $9,535.00
                                                                   (see instructions)



   3.2       Make:          Toyota                            Who has an ¡nterest ¡n the property? Check one           Do not deduct secured claims or exemptions. Put

             Model:         ffi                                E   Debtor 1 only
                                                                                                                       the amount of any secured claims on Schedule D:
                                                                                                                       Creditors Who Have Çla¡ms Secured by Property.
             Year:          2017                               El Debtor 2 onty
                                                                                                                       Current value of the      Current value of the
             Approximate mileage:                              I   D"btol. 1 and Debtor 2 only                         ent¡re property?          portion you own?
             Other information:                                E   At least one of the debtors and another


                                                               E   Check ¡f this is community property                          $25,876.00                $25,876.00
                                                                   (see instructions)



   3.3       Make:          Toyota                            Who has an interest ¡n thê property? Check one           Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
             Model:         Prius                              E   Debtor 1 only                                       Crcditors Wo Have Claims Secured by Property.
             Year:          2010                               I   Debtor 2 only                                       Current value ofthe       Current value of the
             Approximate      mileage:           104000        E   Debtor   I   and Debtor 2 only                      entire   property?        portion you own?
             Other informat¡on:                                E   At least one of the debtors ând ânother


                                                               E   Check if this ¡s commun¡ty property                           $9,550.00                  $9,550.00
                                                                   (see instruct¡ons)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, tra¡lers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     Iruo
     E   Yes




 5   Add the dollar value of the port¡on you owll for all of your entr¡es from Part 2, including any entries for pages
     .you have attached for Part 2. Write that number              here..................            .........=>                                       $44,961.00

 Part 3:          Describe Your Personal   and Household ltems
 Do you own            or         any       or          interest in any of the following                                                       urrent value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     EI   t',,¡o

     I    Yes. Describe.....
                                        Miscellaneous Household Goods and Furnishings (see attached
                                        list)                                                                                                               $3,520.00

                                        Sewinq Machine                                                                                                         $120.00




Official Form 1064,/8                                                    Schedule A/B: Property                                                                     page2
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



          Case 2:18-bk-08695-BKM                             Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                            Main Document    Page 11 of 54
                                   DEBTOR'S CHECKLIST OF'

              HOUSEHOLD FURNITURE. FURNISÍIINCS AND APPLIANCES

   ROOM:          OUANTITY IIEM                                          VALUE
   Kitchen:         -4
                    I
                                     Table
                                     Chairs
                                                                          &
                                                                          {æ
                                     Stove                                    4t{oo
                                     Refrigerator                             4w
                            I        Set(s) of Pots/Pans                   *rto
                                                                         -TSo-
                                     Set(s) of Dishcs
                            I        Scts of Silvcnvarc
                                                                         -3.1r)
                                     SmallAppliances                          4too
                                     Other:


  Dinins Rqom:                       Table                                    S    rs"
                  = ,ù               Chairs
                                     Hutch/Buffet
                        I            Other: _r{¿t¡d_û4ttrÊ                    S¡¿


  Living Room:
                                     Couch                                    Sr
                                     Chairs                                   tf l3Ð
                                     Coffee Table
                    .a               End Table                            4tç
                    I                Lamps                                43o
                                     CarpelRug
                                     Television set                       .{leo
                                     Radio
                                     Stereo
                                    VCR/DVD                              4to
                    I                                                    &oo

  Familv Room:
                        I           Couch                                &,{o
                                    Chairs
                                    Coffee Table                          I    !¡f)
                                    End Table
                                    Lamps
                                    Carpet/Rug
                    I               Television set                        *ttô
                                    Radio
                                    Stereo
                                    VCR/DVD                              ,ñ   40
                                    Other ; êuú¡mtnßtetf C&¡K           *qf-
                                                                         F-
                                             'I+EF
                                                 I



Case 2:18-bk-08695-BKM           Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37          Desc
                                Main Document    Page 12 of 54
                                     DEBTOR'S CHECKLIST OF'

               HOUSEHOLD FURI\IITURE. TURNISHTNCS AND APPLIANCES


   Mas!e{
   Bedroom:
                                       Beds                                 J|loo
                                       Table
                                       Dresser                               E   too
                          p,           Lamps                                 63a
                          ã-           Bedding                               .þtoc)
                          3            Alarm Clock                           42ê
                                                                             4Ao       .




   Other Bedrooms:
                          3            Beds                                  s cl
                     --T-              Table
                                       Dresser                              4toö
                      4b
                                       Lamps                                ðøo
                      3                Bedding                              é too
                                       Alann Clock
                                       Other:    lþkz                       Å20
                          I                    "tDt¿<çgr,                   +igo

   Miscellaneous:
                                       Desk
                                       Washing Machi¡rc                     é
                                                                            3ts2
                     -T-   I           Clothes Dryer
                                       Vacuum Cleaner
                                       Patio Furnitute
                                                                            4tcs<)
                                                                            aÞ5
                     :=                Home Computer System
                                       Piano
                                       Musical Instruments
                     --qÒ              Books                                4*tc
                                       Typewriter
                                       Bicycle
                                       Sewing Machine                       fusa
                                       Bible
                                       Guns
                           I
                              I        Golf Clubs (set)                     4gç
                                       Hobby Equi                           #so




                                                      2




Case 2:18-bk-08695-BKM             Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37      Desc
                                  Main Document    Page 13 of 54
 Debtor    1

 Debtor 2        Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                   Case number(if   known)

7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    E    ¡,¡o
    I    Yes. Describe.....
                                     Gomouter 1S150). Printer l$40ì and Table l$751                                                                       $265.00


8. Gollectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    Eruo
    I    Yes. Describe.....
                                     Miscellaneous Books and P¡ctures                                                                                     $500.00


9. Equipment      for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
                   instruments
    ENo
    I    Yes. Describe.....
                                     Set of Golf CIubs                                                                                                    $150.00

                                     2-bicycles: 2-child's bicvcles                                                                                       $500.00


10. Firearms
        Examples: Pistols, r¡fles, shotguns, ammunition, and related equipment
    Iruo
    E    Yes. Describe.....

11. Glothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    E    t¡o
    I    Yes. Describe.....
                                     Miscellaneous Men's and Women's Glothinq                                                                           $1,000.00


12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    Eruo
    I    Yes. Describe.....
                                     Weddino/Enoaoement Rinos                                                                                           $4,000.00

                                     Watches                                                                                                              $300.00

                                     Miscellaneous Jewelrv (rinqs. earr¡nqs. necklaces)                                                                   $225.00


13. Non-farm an¡mals
        Examples: Dogs, cats, birds, horses
    Eruo
    I    Yes. Describe.....
                                     2 Doos                                                                                                             unknown


14. Any other personal and household items you did not already list, including any health aids you did not list
   EI ¡lo
    I    Yes. Give specific information.....
                                     Food. Fuel and Prov¡s¡ons       16   month suÞDlvl                                                                   $500.00




Official Form 1064,/9                                             Schedule A/B: Property                                                                      page 3
Soffware Copyright (c) 20'18 ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                        Desc
                                                             Main Document    Page 14 of 54
    Debtor        1

    Debtor 2              Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                     Case number(/known)


    't   5.   Add the dollar value of all of your entries from Part 3, including any entr¡es for pages you have attached for
              Part 3. Wr¡te that number here                                                                                                            $11,080.00


    Part 4:           Describe Your Financial Assets
    Do you own             or           any        or equitable interest in any of the
                                                                                                                                                port¡on you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                cla¡ms or exemptions.

16. Gash
              Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when ¡rou file your petition
          Iruo
         E     Yes.

17. Depos¡ts of money
              Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                        ¡nstitutions. lf you have multiple accounts with the same institution, list each.
         Eruo
         I     Yes.............-. ...   ..-.                                              lnstitution name:


                                                 17.1   .    Checking     Account Desert Schools Ghecking Acct            No. x5380                             $2r3.6r


                                                 17.2. Savings          Account           Desert Schools Savings Acct. No. x5300                                 ç62.26

                                                                                          Farmers lnsurance Group Federal Credit
                                                 17.3. Savings          Account           Union Savings Acct. No. x5647                                            $7.03



                                                 17.4. Ghecking Account                   Wells Fargo Checking Acct. No. x0667                                     $0.00



                                                 17.5. Ghecking Account Wells Fargo Checking Acct. No. xl 185                                                      $0.00



                                                 17.6. Savings          Account           Wells Fargo Savings Acct. No. x9587                                      $0.00



                                                 17.7. Savings          Account           Wells Fargo Savings Acct. No. x9595                                      $0.00


1   8. Bonds, mutual funds, or publicly traded stocks
             Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         E     ¡.to
         I yes..................                            lnstitution or issuer name:
                                                            24283 Shares Disnev Stock                                                                        $2,582.00


1   9. Non-publicly traded stock and ¡nterests                       ¡n ¡ncorporated and unincorporated businesses, including an interest in an LLC, partnership, and
             joint venture
         E     t,lo
         I    Yes. Give specific information about them
                                                    Name of entity:                                                   % of ownership
                                                    The Kvle Oldfield                     . LLC                          100.00        o/o
                                                                                                                                                             unknown

20. Government and corporate bonds and other negotiable and non-negot¡able ¡nstruments
             Negot¡able instrumenfs include personal checks, cashiers' checks, prom¡ssory notes, and money orders.
             Non-negotiable ¡nstruments arc those you cannot transfer to someone by signing or delivering them.

Official Form             1064,/8                                                  Schedule A/B: Property                                                          page 4
Software Copyright (c) 201        I   ClNcroup - www.cincom pass.com



              Case 2:18-bk-08695-BKM                                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                   Desc
                                                                        Main Document    Page 15 of 54
  Debtor I
  Debtor 2         Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                           Case numberúfknown)

     Iruo
     E    Yes. Give specific information about them
                                       lssuer name:

21. Retirement or pension accounts
         Examples: lnterests in lRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     ENo
     I    Yes. List each account separately.
                                    fype of account:                            lnstitution name:
                                            IRA                                 Ravmond James Roth IRA                                                    $1r,465.00

                                            IRA                                Farmers Financial Services IRA                                            $45,000.00

                                            IRA                                Ravmond James IRA                                                         $14,496.00

                                            Pension Plan                       Arizona State Retirement System                                           $39,000.00

22. Security depos¡ts and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     I    tto
     E    Yes.   .....................                                         lnstitution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     INo
     E Yes.............               lssuer name and description.

24. lnterests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tu¡t¡on program.
    26 u.S.c. SS 530(bX1), 5294(b), and 529(b)(1).
     I    trto
     E    Yes.............            lnstitution name and description. Separately file the records of any interests.l   l U.S.C. g 521(c):
25. Trusts,equ¡tableorfuture¡nterestsinproperty(otherthananythinglistedinline'l),andrightsorpowersexerc¡sableforyourbenefit
     INo
     E Yes. Give specific information              about them...

26. Patents, copyr¡ghts, trademarks, trade secrets, and other intellectual property
         Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements
     I    tr¡o
     E Yes.      Give specific information about them...

27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative associat¡on holdings, liquor licenses, professional licenses
     ENo
     I    Yes. Give specific information about them...
                                                   Insurance Producer Licenses (CO, NM and OR); Securities
                                                   Licenses     co                                                                                             $0.00


 Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

28. Tax refunds owed to you
    I     l.lo
    E     Yes. Give specific information about them, including whether you already filed the returns and the tax years.....



29. Family support
         Examples: Past due or lump sum al¡mony, spousal support, child support, maintenance, divorce settlement, property settlement
    lno
    E Yes. Give specific information......
Official Form     1064,/8                                                 Schedule A/B: Property                                                                page 5
Software Copyright (c) 201   I   ClNGroup - www.cincompass.com



          Case 2:18-bk-08695-BKM                                  Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                       Desc
                                                                 Main Document    Page 16 of 54
 Debtor 1
 Debtor 2            Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                   Case numbet (if known)



30. Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'compensation, Social Security benefits;
                    unpaid loans you made to someone else
      I    trlo
      E    Yes. Give specific information..

31   . lnterests in ¡nsurance policies
          Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
      E    ¡lo
      I    Yes. Name the insurance company of each policy and list its value.
                                     Company               name:                                     Beneficiary:                             Surrender or refund
                                                                                                                                              value:
                                                Farmers New World Life lnsurance
                                                Policv No. x7661V                                    Michelle Oldfield                                        $129.57

                                                Farmers New World Life lnsurance
                                                Policy No. x2062                                     Kyle Oldfield                                          unknown

                                                Farmers Homeowners' lnsurance
                                                Policy No. x7591                                                                                                 $0.00

                                                Farmers Auto lnsurance Policy No.
                                                x8826                                                                                                            $0.00

                                                Farmers lnsurance Flood Policy No.
                                                x7951                                                                                                            $0.00


32. Any interest ¡n property that is due you from someone who has died
          lf you are the beneficiary of a liv¡ng trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
          died.
      I    t¡o
      E    Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsu¡t or made a demand for payment
          Examples: Accidents, employment disputes, insurance claims, or r¡ghts to sue
      I    tr¡o
      E Yes. Describe             each c|aim.........

34. Other contingent and unl¡qu¡dated claims of every nature, including counterclaims of the debtor and rights to set off claims
      Iruo
      E Yes. Describe             each c|aim.........

35. Any financial assets you did not already list
      ENo
      I    Yes. Give specific information..
                                                           Flexible Soendino Account                                                                             $0.00



 36.       Add the dollar value of all of your entries from Part 4, ¡ncluding any entr¡es for pages you have attached             for
           Part 4. Write that number here.................,                                                                                            $112,955.47

                 Descr¡be Any Business-Related Property You Own or Have an lntêrêst ln, List any real estate ¡n Part   l.
37.   Do you own or have any legal or equitable interest ¡n any business-rêlated property?
     I    No. Go to P"tt 6.
     E    Yes. Go to line 38.




Official Form '1064,/8                                                   Schedule A/B: Property                                                                   page 6
Software Copyright (c) 201    I   ClNcroup - www.cincom pass.com



           Case 2:18-bk-08695-BKM                                   Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                       Desc
                                                                   Main Document    Page 17 of 54
 Debtor 1
 Debtor 2                 Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                  Case numberlif known,

                     Dêscribe Any Farm- and Commerc¡al Fish¡ng-Related Property You Own or Have an lnterest ln.
                     lf you own or have an interest In farmland, list ¡t in Part 1.

46. Do you own or have any legal or equ¡table interest in any farm- or commercial fishing-related property?
              f     No. co to Part 7.
              E     Yes. Go to line 47-


 Paft7                    Descr¡be All Property You Own or Have an lnterest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
              Examples: Season tickets, country club membership
      D           ¡.lo
          I       Yes. Give specific information.........
                                                 Wases/Salary 05o/o or 30 times Federal Minium Waoel                                            unknown


 54.          Add the dollar value of all of your entr¡es from Part 7. Write that number here                                                    $0.00

                         List the Totals of Each Part of this Form

 55.          Part 1: Total real estate, line       2   ..............                                                                       $345,000.00
 56.          Part 2: Total vehicles, line 5                                                    $44,96f .00
 57. Part 3: Total personal and household items, line 15                                        $11,080.00
 58.          Part 4: Total financial assets, line 36                                          $112,955.47
 Ão           Part 5: Total business-related property, l¡ne 45                                         $0.00
 60.          Part 6: Total farm- and fishing-related property, l¡ne 52                                $0.00
 6l   .       Part 7: Total other property not listed, line 54                          *              $o'oo
 62.          Total personal property. Add lines 56 through 61...                              $1 68,996,47 Copy personal property total     $168,996.47

 63.          Total of all property on Schedule A/8. Add line 55 + line 62
                                                                                                                                           $513,996.47




Official Form 106A,/8                                                         Schedule A/B: Property                                                page 7
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



                  Case 2:18-bk-08695-BKM                                  Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                     Desc
                                                                         Main Document    Page 18 of 54
              Fill ¡n th¡s information to ¡dentify your case:

  Debtor      1                   c                 Oldfield

  Debtor 2
 (Spouse if, fìl¡ng)      tsrrí Name                        M¡ddle Name                     Lasl Name

  United States Bankruptcy Court for        the:      DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (if known)
                                                                                                                                         I   Check if this is an
                                                                                                                                             amended filing


Official Form 106C
Schedule G: The Propertyr You Glalm as Exempt                                                                                                                      4116

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule NB: Property(Official Form 106A/8) as your source, l¡st the property that you claim as exempt. lf more space is needèd, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must spec¡fy the amount of the exemption you claim. One way of doing so ¡s to state a
spec¡f¡c dollar amount as exempt. Alternatively, you may claim the full fair market value of the property be¡ng exempted up to the amount of any
applicable statutory limit. Some exemptions+uch as those for health aids, rights to receive certa¡n benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law thai timits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be l¡mited to the
appl¡cable statutory amount.
EtTl¡I ldentifv the Pronertv You Glaim as Exempt
 . Which set of exemptions are you claiming? Check one only, even if your spouse is fiting with you.
 1


   I You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. S S22(bX3)
      E    You are claiming federal    exemptions. 11 U.S.C.      S 522(bX2)

 2.   For any property you list on Schedule AlBlhatyou claim as exempt, fill in the information below.
                                               on
      Brief descript¡on of the propêrty and line              Current value of   the   Amount of the exempt¡on yciu cla¡m        Specific laws that allow exemption
      Schedule AlBlhal lists th¡s      property               portion you own
                                                                             *m        check onty one box for each exempt¡on.
                                                              !:f:jli"i,å"
 Debtor 1 Exemptions

      29203 N 50th Pr
                                                                   $345,000.00         I                         $25,000.00 Ariz. Rev. Stat. $ 33-rr01(A)
      Gave Creek AZ, 85331-2350                                                        tr     100% of fair market value, up to
      County : Maricopa                                                                       any applicable statutory limit
      Line from Schedule A/8. 1.1


      Toyota
      Camry
                                                                      $9,535.00        r                          $6,000.00 Ariz.      Rev. Stat. $ æ-r125(8)

      2014                                                                             tr     100% of fair market value, up to
      75000                                                                                   any applicable statutory limit
      Line from Schedule     N8.3.1

      Miscellaneous Household Goods
      and Furnishings (see attached list)
                                                                      $3,520.00        I                          $3,520.00 Ariz.      Rev. Stat. g 33-1123

      Line from Schedule     NB.6.1                                                    tr     100% of fair market value, up to
                                                                                              any applicable statutory limit

      Sewing Machine
      Line from Schedule N8.6.2
                                                                          $120.00      I                              $60.00     Ariz. Rev. Stat. $ 33-1125(7)

                                                                                       tr     100% offair market value, up to
                                                                                              any applicable statutory l¡mit




Official Form      106C                                Schedule G: The Property You Claim as Exempt                                                         page 1 of 6
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



        Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                            Desc
                                                            Main Document    Page 19 of 54
      Brief description of thê property and line on          Current value of the   Amount of the exemption you     clalm     Spec¡lÎc laws that allow exempt¡on
      Schedule AlBlhat l¡sts th¡s property                   portion you own
                                                             Copy the value from    Check only one box   fu each exemption.
                                                             Schedule A/B

      Gomputer ($150), Printer ($40) and
                                                                       $265.00      I                              $132.50    Ariz. Rev. Stat. g 33-1125(7)
      Table ($75)
      Line from Schedule N8.7.1                                                     tr   100% of fair market value, up to
                                                                                         any applicable statutory limit

      Miscellaneous Books and Pictures                                                                                        Ariz. Rev. Stat. $ 33-rr25(5)
                     N8.8.1
      Line from Schedule
                                                                       $500.00                                     $250.00
                                                                                         1 00% of fair market value, up to
                                                                                         any applicable statutory lim¡t

      2-bicycles; 2'child's bicycles                                                                                          Ariz. Rev. Stat. $ 33-1125(7)
      Line from Schedule N8.9.2
                                                                       $500.00                                     $500.00
                                                                                         I 00% of fair market value, up to
                                                                                         any applicable statutory limit

      Miscellaneous Men's and Women's                                                                                         Ariz. Rev. Stat. $ 33-1125(1)
      Clothing
                                                                    $1,000.00                                      $500.00
      Line from Schedule NB. 11.1                                                        100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wedding/Engagement Rings
      Line from Schedule     NB. 12.1
                                                                    $4,000.00                                   $2,000.00 Ariz.     Rev. Stat. $ 33-1125(41

                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Watches                                                                                                                  Ariz' Rev. Stat. $ 33-r125(6)
      Line from Schedule     NB. 12.2
                                                                       $300.00                                     $r50.00
                                                                                         1 00% of fair market value, up to

                                                                                         any applicable statutory l¡mit

     2 Dogs                                                                                                                   Ariz. Rev. Stat. $ 33-1125(3)
     Line from Schedule      N8.13.1
                                                                    Unknown                                        $800.00
                                                                                         100o/o of fair market value, up to
                                                                                         any applicable statutory limit

     Food, Fuel and Provisions (6 month                                $500.00                                                Ariz. Rev. Stat. $ 33-1124
     supply)
     Line from Schedule      NB. 14.1                                                    100% of fair market value, up to
                                                                                         any applicable statutory limit

     Farmers Insurance Group Federal                                                                                          Ariz. Rev. Stat. $
                                                                          $7.03                                       $3.52
     Gredit Union Savings Acct. No.                                                                                           33,1r26(AX9)
     x5647                                                                               100% of fair market value, up to
     Line from Schedule A/8. 17,3                                                        any applicable statutory limit


     Wells Fargo Checking Acct. No.                                                                                           Ariz. Rev. Stat. $
     x0667
                                                                          $0.00     T                                 $0.00
                                                                                                                              33-r126(AXe)
     Line from Schedule      A/8.17.4                                               tr   100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo Checking Acct. No.                                                                                           Ariz. Rev. Stat. $
                                                                          $0.00                                       $0.00
     x1 185                                                                                                                   33-1r26(AXe)
     Line from Schedule      NB.17.5                                                     100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo Savings Acct. No. x9595                                                                                      Ariz. Rev. Stat. $
                                                                          $0.00                                       $0.00
     Line from Schedu/e NB.17.7                                                                                               33-1126(AXe)
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit



Official Form   106C                                   Schedule G: The Property You Claim as Exempt                                                      page 2 of 6
Software Copyr¡ght (c) 2018 C¡NGroup - www.c¡ncompass.com



       Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                          Desc
                                                            Main Document    Page 20 of 54
      Brief descript¡on of the property and line on          Cunent value of the       Amount of the exempt¡on you claim          Spec¡f¡c laws that allow exempt¡on
      Schedule AlBthat lists th¡s property                   port¡on you own
                                                             Copy the value from       Check only one box for each exempt¡on.
                                                             Schedule NB

      Raymond James Roth IRA                                       $11,465.00                                                     Ariz. Rev. Stat. $ æ-r126(8)
      Line from Schedule     A/8.21,1
                                                                                            1 00% of fair market value, up to

                                                                                            any applicable statutory lim¡t

      Farmers Financial Services IRA                               $45,000.00          tr                                         Ariz. Rev. Stat. $ 33-1126(8)
      Line from Schedule N8.21.2
                                                                                       I    10ïo/o of fair market value, up to
                                                                                            any applicable statutory limit

      Raymond James IRA                                            $14,496.00                                                     Ariz. Rev. Stat. $ æ-f 126(8)
      Line from Schedule N8.21.3
                                                                                            100o/o of fair market value, up to
                                                                                            any applicable statutory limit

      Arizona State Retirement System                              $39,000.00          tr                                         Ariz. Rev. Stat. $ 33-1126(8)
      Line from Schedule N8.21.4
                                                                                       t    100o/o of 'Íair market value, up to
                                                                                            any applicable statutory limit

      Farmers New World Life lnsurance                                 $129.57         tr                                         Ariz. Rev. Stat. $
      Policy No. x7661V                                                                                                           33-1126(AX6)
      Line from Schedule NB. 31.1                                                      T    100% o'Í lau market value, up to
                                                                                            any applicable statutory l¡mit

      Farmers New World Life lnsurance                              Unknown                                                       Ariz. Rev. Stat. $
      Policy No. x2062                                                                                                            33-1126(AX6)
      Line from Schedule N8.31.2                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      Farmers Auto lnsurance Pol¡cy No.                                                                                           Ariz. Rev. Stat. $
                                                                          $0.00                                         100o/o
      x8826                                                                                                                       33-1126(AX6)
      Line from Schedule     N8.31.4                                                        100% of fair market value, up to
                                                                                            any applicable statutory limit

      Wages/Salary (75o/o ot 30 times                               Unknown                                                       Ariz. Rev. Stat. $ 33-1131(B)
      Federal Minium Wage)
      Line from Schedule     NB.53.1                                                        100% of fair market value, up to
                                                                                            any applicable statutory limit

 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4101 119 and every 3 years after that for cases filed on or after the date of adjustment.)
      lNo
      tr Yes. Did you acquire the property covered by the exemption within         1   ,215 days before you filed this case?
            trNo
            tr Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                           page 3 of 6
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



       Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                            Main Document    Page 21 of 54
 Fill in this ¡nformat¡on to ident¡fy your case:

 Debtor       1
                           First Name                        M¡ddle Name                           Last Name

 Debtor 2                  Michelle Louise Oldfield
 (Spouse if, fìling)       First Name                        M¡ddle   Name                         Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA. PHOENIX DIVISION

 Case number
 (¡f known)
                                                                                                                                                   E   Check if this is an
                                                                                                                                                       amended filing


Official Form 106C
Schedule G: The Propert¡r                                             You Glaim as Exempt                                                                                    4116

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule NB: Property (Official Form 1 06A/8) as your source, list the property that you claim as exempt. lf more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
spec¡f¡c dollar amount as exempt. Alternat¡vely, you may claim the full fair market value of the property be¡ng exempted up to the amount of any
applicable statutory l¡m¡t. Some exemptions-such as those for health a¡ds, r¡ghts to receive certain benefits, and tax-exempt ret¡rement
funds-may be unl¡m¡ted in dollar amount. However, if you claim an exempt¡on of 100% of fair market value under a law that lim¡ts the exempt¡on
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be l¡m¡ted to the
applicable statutory amount.
IiF..lI           ldenfifv the Prônêrlv You Claim as Framnf

 1   .   Which set of exempt¡ons are you claiming? Check one only, even                  if   your spouse is filíng with you.
         I   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. S 522(bX3)

         E   You are claiming federal   exemptions. 11 U.S.C.         S 522(bX2)

 2.      For any property you list on Schedule A/8 that you claim as exempt,                       fill in the information below.
                                             on
         Br¡êf descr¡ption of the property and line            Current value of    the        Amount of thê exemption you claim            Spec¡fic laws that a¡low exempt¡on
         Schedule AlBlhel lists th¡s property                  portion you own
                                                                               *m             check onty one box for each exemption.
                                                               S:fljfr"iå"
 Debtor 2 Exemptions

         29203 N 50th Pt
                                                                       $345,000.00            I                         $25,000.00 Ariz. Rev. Stat. $ æ-f r01(A)
         Cave Creek AZ, 85331-2350                                                            tr     100% of fair market value, up to
         County : Maricopa                                                                           any applicable statutory lim¡t
         Line from Schedule NB. 1.1


         Toyota
         Prius
                                                                         $9,550.00            ¡                           $6,000.00 Ariz.        Rev. Stat. $ æ-f r25(8)

         2010                                                                                 tr     10}o/oof,lat¡ marketvalue, upto
         104000                                                                                      any applicable statutory limit
         Line from Schedule   NB.3.3

         Sewing Machine                                                                       I                                            Ariz. Rev. Stat. $ 33-1125(7)
         Line from Schedule   A/8.6.2
                                                                             $120.00                                            $60.00
                                                                                              tr     100% of fair market value, up    1o
                                                                                                     any applicable siatutory limit


         Computer ($f 50), Printer ($40) and
         Table ($75)
                                                                             s265.00          r                             $132.50        Ariz. Rev. Stat. $ 33-1125(7)

         Line from Schedule   NB.7.1                                                          tr     100o/ooflai marketvålue, upto
                                                                                                     any applicable statutory limit




Official Form 106C                                       Schedule C: The      Propefi You Glaim as Exempt                                                              page 4 of 6
Software Copyright (c) 20'18 ClNGroup - www.cincompass.com



             Case 2:18-bk-08695-BKM                           Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                      Desc
                                                             Main Document    Page 22 of 54
     Br¡ef dêscription of the property and l¡ne on           Cunênt valuê of the    Amount of the êxempt¡on you claim        Spec¡fic laws that allow exemption
     Schedule AlBlhú lists th¡s property                     poñ¡on you own
                                                             Copy the \ralue from   Check only one box for each exemption.
                                                             Schedule A/B
      Miscellaneous Books and P¡ctures                                                                                       Ariz. Rev. Stat. $ 33-r125(5)
      Line from Schedule A/8.8.1
                                                                       $500.00                                    $250.00
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Miscellaneous Men's and Women's                                                                                         Ariz. Rev. Stat. $ 33-1125(1)
     Clothing
                                                                     $r,000.00                                    $300.00
      Line from Schedu Ie NB. 11 ,1                                                      I 00% of fair market value, up to
                                                                                         any applicable statutory limit


     Wedding/Engagement R¡ngs                                        $4,000.00                                 $2,000.00 Ariz.     Rev. Stat. $ 33-1125(4)
      Line from Sclredule    NB.12,1
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Watches                                                                                                                 Ariz. Rev. Stat' $ 33-1125(6)
      Line from Schedule NB. 12,2
                                                                       $300.00                                    $150.00
                                                                                         1 00% of fair market value, up to

                                                                                         any applicable statutory limit

     2 Dogs
      Line from Schedule NB. 13.1
                                                                     Unknown                                      $S00.00 Ariz.    Rev. Stat. $ 33-1125(3)

                                                                                         100o/o of fai market value, up to
                                                                                         any applicable statutory limit

     Desert Schools Ghecking Acct No.                                                                                        Ariz. Rev. Stat. $
                                                                       $213.61                                    $213.61
     x5380                                                                                                                   33-rr26(AXe)
      Line from Schedule NB. 17.1                                                        1 00% of fair market value, up to

                                                                                         any applicable statutory limit

     Desert Schools Savings Acct. No.                                    $62.26     T                              $62.26    Ariz. Rev. Stat. $
     x5300                                                                                                                   33-1126(AXe)
     Line from Schedule NB. 17.2                                                    tr   100% of fair market value, up to
                                                                                         any applicable statutory limit

     Farmers lnsurance Group Federal
     Credit Union Savings Acct. No.
                                                                           $7.03 r                                   $3.52
                                                                                                                             Ariz. Rev. Stat. $
                                                                                                                             33,1126(AXe)
     x5647                                                                          tr   100% of fair market value, up to
     Line from Schedule NB. 17,3                                                         any applicable statutory limit


     Wells Fargo Checking Acct. No.                                                                                          Ariz. Rev. Stat. $
                                                                           $0.00                                     $0.00
     x0667                                                                                                                   33-1126(AXe)
     Line from Schedule NB. 17,4                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit

     Wells Fargo Savings Acct. No. x9595                                                                                     Ariz. Rev. Stat. $
                                                                           $0.00                                     $0.00
     Line from Schedule NB. 17,7                                                                                             33-1126(AXe)
                                                                                         100% of fair market value, up to
                                                                                         any applicable statutory limit


     Wages/Salary (75o/o or 30 times                                 Unknown tr                                              Ariz. Rev. Stat. $ 33-r131(B)
     Federal Minium Wage)
     Line from Schedule N8.53.1                                              t           100o/oof fair market value, up to
                                                                                         any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Glaim as Exempt                                                    page 5 of 6
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



       Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                        Desc
                                                            Main Document    Page 23 of 54
      Br¡êfdescription ofthe propêrty and line      on       Cunentvalue oflhe      Amount ofthe ex€mptlon you clalm
      Schedule AlBlhatllsûs th¡s propêrty                    portion yÒu own
                                                             Copy tho ì/aluo from       Check only one box lot each êxempt¡on,

 3.   Arè yõu ciaiming a r¡omeóieað         ã'"ñ¡¡u;         *'*iJi';'"#lì6ô¡tåt
      (Subject to adjustment on 4101119 and every 3 ¡æars after that for cases filed on or after the date of adjustment.)
      INo
      tr Yes. Did you acquire the property covered by the exemption within          1   ,215 days before you filed this case?
           trNo
           EI Yes




Official Form 106C                                     Schedule C: The Property You Glalm as Exempt                                page 6 of 6
Soflware Copyright (c) 2018 ClNcrcup - www.c¡ncompass.com



       Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                      Desc
                                                            Main Document    Page 24 of 54
       Fill in this informat¡on to identify your case:

  Debtor'l                                    c                  Oldfield

  Debtor 2                            Michelle Louise Oldfield
  (Spouse if, fìling)                 First Name                          t\4



  United States Bankruptcy Court for                      the:    DISTRICT OF ARIZONA, PHOENIX DIVISION

  Case number
  (if known)
                                                                                                                                                              E   Check ¡f this is an
                                                                                                                                                                  amended filing

Official Form 106E/F
Schedule EIF: Creditors Who Have Unsecured Claims                                                                                                                           12115
Be as complête and accuratê as possible. Use Part                     I for creditors
                                                                   w¡th PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim, Also list executory contracts on Schedule A/B: Property (Official Form 1064/8) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured ciaims that are l¡sted i; Schedule
D: Cred¡tors Who Have Claims Secured by Propêrty. lf more space is needed, copy the Part you need, fill it out, numbeithe entr¡es in the boxes on the left. Attach
the Cont¡nuation Page to this page. lf you have no information to report in a Part, do not file that Part. On the top of any addit¡onal pages, write your name and
case number (if known),

l4ifl        List Atl of Your pRtORtTy Unsecured Claims
 1. Do eny creditonB have priority unsecured claims against you?
      E No. Go to Part 2.
      I yes.
 2. List all of your pr¡or¡ty unsecured claims, lf a creditor has more than one priority unsecured claim, list the creditor separately for each cla¡m. For each claim listed,
       identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       pos_sible, list the cla¡ms in alphabetical order accord¡ng to the creditor 's name. lf you have more than two priority unsecured claims, fill out the Continuat¡on Page of Part
       1. lf more than one creditor holds a particular claim, list the other cred¡tors in Part 3.
       (For an explanation of each type of cla¡m, see the instructions for this form ¡n the instruction booklet.)
                                                                                                                                   Total claim     Pr¡ority               Nonpriority
                                                                                                                                                   amount                 amount
 2.1           AZ Dept of Revenue                                               Last ¡l dig¡ts of account number                         unknown                  $0.00                 $0.00
               Priority Credito/s Namë
               Attn: BK/Litigation Section                                      When was the debt    ¡ncurred? NOtiCe OnlV
               1600 W Monroe St Rm 720
               Phoenix. A285007-2612
               Number Street City State Zlp Code                                As of the date you file, the cla¡m is: Check all that apply
         Who incurred the debt? Check one.                                      E   Contingent
         E     Debtor 1 onty
                                                                                E   Unliquidated
         E     Debtor 2 only
                                                                                E   Disputed
         I     Debtor   I   and Debtor 2 only                                   Type of PRIORITY unsecured claim:

         E     At least one of the debtors and another                          E   Domestic support obligations

         E     Check if th¡s claim is for              a commun¡ty debt         I Taxes and certain other debts you owe the government
         ls the claim subjoct to offset?                                        E Claims for death or personal injury while you were intoxicated
         I     tlo                                                              E Other. SpecifrT
         E     Yes




Official Form 106       E/F                                        Schedule E/F: Creditors Who Have Unsecured Cta¡ms                                                              Page   I   of   I
Softwarè Copyright (c) 20     1   I   ClNcroup     -   www.cincompass.com                                                    G1   8059



         Case 2:18-bk-08695-BKM                                            Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                   Desc
                                                                          Main Document    Page 25 of 54
 Debtor        1      Oldfield, Kyle Christopher & Oldfield, Michelle
 Debtor        2      Louise                                                                                      Case number      (t rnow)


 2.2            lnternal Revenue Service                                Last 4 digits of account number                           unknown                      $0.00              $0.00
                Priority Creditor's Name
                Centralized lnsolvency                                  When was the debt incurred?           Notice Only
                Operations
                PO Box 7346
                Philadelphia. PA 19101-7346
                Number Street City State Zlp Code                       As of the date you f¡le, the cla¡m is: Check all that apply
           Who ¡ncurred the debt? Check one.                            E   Contingent
           E    Debtor 1 only                                           E   Unliquidated
           E    Debtor 2 only                                           E   Disputed
           I    Debtor      I   and Debtor 2 only                       Type of PRIORITY unsecured claim:

           E    At least one of the debtors and another                 E   Domestic support obl¡gations

           E    Check if this claim ¡s for        a community debt      I   Taxes and certain other debts you owe the government
           ls the claim subject to offset?                              E   Claims for death or personal injury while you were intoxicatêd
           Iruo                                                         E   other. Specify
           E    Yes

 Part2                List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditons have nonpr¡ority unsecured cla¡ms              againstyou?
       E       No. You have nothing to report in this part. Submit this form to the court with your other schedules.

       I       Yu".

 4.    List all of your nonprior¡ty unsecured claims in the alphabetical order of the cred¡tor who holds each claim, lf a creditor has more than one nonpriority
       unsecured claim, llst the cred¡tor separately for each claim. For each claim listed, identifu what type of claim it is. Do not list claims already included in Part l. lf more
       than one creditor holds a particular claim, l¡st the other creditors in Part 3.lf you have more than three nonpr¡ority unsecured claims fìll out the Continuation Page of Part
       2.
                                                                                                                                                                 Total claim
 4.1            American Express                                            Last 4 dig¡ts of account number        1002                                                   $18,000.00
                Nonprior¡ty Creditods Name
                                                                            Whèn was the debt incurred?            612018
                PO Box 0001
                Los Angeles, GA 90096-8000
                Number Street City State Zlp Code                           As of the date you f¡le, the cla¡m is: Check all that apply
                Who ¡ncurred the debt? Check one.
                E     Debtor 1 only                                         I   Contingent
                E     Debtor 2 only                                         I   Unliquidated
                I     D"bto,     I   and Debtor 2 only                      EI Disputed
                E     At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                E   Check if this cla¡m ¡s for e community                  E   Student loans
                debt                                                        E  Obligat¡ons arising out of a separation agreement or divorce that you did not
                ls the claim sub¡ect to offset?                             report as priority claims
                Iruo                                                        E   Debts to pension or profìt-shar¡ng plans, and other similar debts

                E     Yes                                                   I   other. specifu




Offìcial Form 106           E/F                                 Schedule E/F: Creditors Who Havê Unsecured Cla¡ms                                                              Page 2 of   I
Softìüare Copyright (c) 2018 ClNcroup - www.cincompass.com



           Case 2:18-bk-08695-BKM                                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                    Desc
                                                                     Main Document    Page 26 of 54
  Debtor    1       Oldfield, Kyle Ghristopher & Oldfield, Michelle
  Debtor 2          Louise                                                                                         Case number     (t tnow)


  4.2       Attorney General of AZ                                          Last 4 digits of account number                                                     unknown
            Nonpriority Creditor's Name
                                                                            When was the debt incurred?             Notice Only
            2005 N Central Ave
            Phoenix, AZ 85004-1592
            Number Street City State Zlp Code                              As of thê date you file, the claim is: Check all that apply
            Who ¡ncurred the debt? Check one.
                E   Debtor 1 only
                                                                            E   Contingent
            E       Debtor 2 only
                                                                            E   Unliquidated
            I       Debtor 1 and Debtor 2 only                              El Disputed
            D       At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            E   Ctrect if th¡s claim ¡s for a commun¡ty                     E   Student loans
            debt                                                            E  Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                                 report as priority cla¡ms
            I       ¡,¡o                                                    E   Debts to pension or profìt-sharing plans, and other similar debts

            E Y."                                                           I   other. Spectfu


 4.3        Chase-SW Gard                                                  Last4 d¡gits ofaccount      number 0170                                             $r2,500.00
                                                                           When was the debt       ¡ncurred?       612018
            PO Box 6294
            Garol Stream, lL 60197-6294
            Number Street City State Zlp Code                              As of the date you file, the claim is: Check all that apply
            Who ¡ncuned the debt? Check one.
            E       Debtor   I   only                                       I   Contingent
            E       Debtor 2 only                                           I   Unl¡qu¡dated
            I       Debtor 1 and Debtor 2 only                              E   oisputed
            E       At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            E       Check ¡f th¡s cla¡m is for      a commun¡ty             EI student     loans
            debt                                                            E Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                                report as pr¡ority claims

            lNo                                                            E    D"bt" to pension or profit-sharing plans, and other similar debts
            E       Yes                                                    I    other. Speciû


 4.4        Chase-SW Gard                                                  Last ¡l dig¡ts of account number        7523                                        $18,500.00
                                                                           When was the debt incured?              612018
            PO Box 6294
            Carol Stream, lL 60197-6294
            Number Street City State Zlp Code                              As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            E       Debtor 1 only                                          I Contingent
            E       Debtor 2 only                                          I unliqu¡dated
            I       Debtor   I   and Debtor 2 only                         E Disputed
            E       At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
            E       Check if this cla¡m ¡s for      e communiþr            E    Student loans
            debt                                                           E  Obligations arising out of a separation agreement or divorce that you did not
            ls the claim subject to offset?                                report as priority claims
            lNo                                                            E    Debts to pension or profit-sharing plans, and other similar debts

            E Yes                                                          I    other. Speciû




Official Form 106          E/F                                   Schedule E/F: Cred¡tors Who Have Unsecured Glaims                                                Page 3 of 8
Software Copyright (c) 201       I   ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                                        Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                           Desc
                                                                     Main Document    Page 27 of 54
 Debtor   1       Oldfield, Kyle Ghristopher & Oldfield, Michelle
 Debtor 2         Louise                                                                                     Case number (ttnow)

 4.5       ctTt                                                       Last 4 digits of account number         3456                                       $22,050.00
           Nonprior¡ty Creditofs Name
                                                                      When was the debt        incuñed?       612018
              PO Box 78045
              Phoenix, AZ 85062-8045
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurfed the debt? Check one.
              E   Debtor 1 only                                       I    Contingent
              E   Debtor 2 only                                       I    Unliquidated
              I   Debtor 1 and Debtor 2 only                          E    Disputed
              E   At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

              E   Cnect if th¡s claim    is for   a commun¡ty         E    Student loans
           debt                                                       E  Obligations arising out of a separat¡on agreement or divorce that you did not
           ls the cla¡m subject to offset?                            report as priority claims
              I   ¡lo                                                 E    Debts to pension or profit-sharing plans, and other similar debts

              E   ves                                                 I    otner. Specify


 4.6       ctTl                                                       Last 4 d¡gits of account number         7115                                       $24,01L00
           Nonpriority Credito/s Name
                                                                      When was the debt incurred?             612018
           PO Box 78045
           Phoenix, AZ 85062-8045
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              E   Debtor   I   only                                   I    Contingent
              E   Debtor 2 only                                       I    unliquidated
              I   Debtor   t   and Debtor 2 only                      E    Disputed
              E   At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

           E Check ¡f this claim is for a commun¡ty                   fl   Student loans
           debt                                                       E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to ofbet?                             report as priority claims
              lruo                                                    E    Debts to pension or profit-sharing plans, and other similar debts

              E yes                                                   I    otner. Specifu


 4.7       Discover                                                   Last   ¿t   digits of account   number 6523                                        $12,500.00
           Nonpriority Creditor's Name
                                                                      When was thê debt        ¡ncured? 6/2018
           PO Box 51908
           Los Anseles, CA 90051-6208
           Number Street City State Zlp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              E   Debtor   I   only                                   I    Contingent
              E   Debtor 2 only                                       I    Unliquidated
              I   Debtor 1 and Debtor 2 only                          E    Disputed
              E   At least one of the debtors and another             Type of NONPRIORITY unsecured cla¡m:
           E Check ¡f th¡s cla¡m ¡s for a community                   E    Student loans
           debt                                                       E  Obligations arising out of a separation agreement or divorcè that you did not
           ls the claim subjêct to ofbet?                             report as pr¡ority claims
              INo                                                     E    Debt" to pen"ion or profìt-sharing plans, and other sim¡lar debts

              E ves                                                   I    Otner. Specifo




Official Form 106       E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of   I
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



       Case 2:18-bk-08695-BKM                                    Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                          Desc
                                                                Main Document    Page 28 of 54
 Debtor    I Oldfield,             Kyle Ghristopher & Oldfield, Michelle
 Debtor    2 Louise                                                                                           Case number ft tnow)

 4.8        Discover Card                                               Last 4 d¡g¡ts of account number        1413                                         $s,875.25
            Nonpriority Creditor's Name
                                                                        When was the debt ¡ncurred?            612018
            PO Box 51908
            Los Anseles, CA 90051-6208
            Number Street City State Zlp Code                           As of the date you file, the claim ¡s: Check all that apply
            Who incurred the debt? Check one.
            E    Debtor   I   only                                      I   Contingent
            El Debtor 2 only                                            I   Unliquidated
            I    D"bto,   1 and Debtor 2 only                           E   Disputed
            E    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            E    Cnect    ¡f th¡s claim is for   a community            E   Student loans
            debt                                                        E  Obligations arising out of a separation agreement or divorce that you did not
            ls the cla¡m subject to ofËet?                              report as priority claims
            Iruo                                                        E   Debts to pension or profit-shar¡ng plans, and other similar debts

            E Yes                                                       I   other. Specifo


 4.9        Farmers lnsurance Group                                     Last 4 dig¡ts of account number                                                    $10,612.00
            Nonpriority Cred¡tois Name
            Federal Gredit Union                                        When was the debt     incurred?        9123116
            PO Box 36911
            Los Angeles, CA 90036-091                     1
            Number Street City State Zlp Code                           As of the date you file, the claim ¡s: Check all that apply
           Who incurred the debt? Check one.
            I    Debtor 1 onty                                          I   Contingent

            E    Debtor 2 only                                          I   unliquidated
            E    Debtor 1 and Debtor 2 only                             E   Disputed
            E    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           E Check ¡f th¡s claim is for a community                     E   Student loans
           debt                                                         E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                              report as priority claims
            I    r.¡o                                                   E   Debts to pension or profit-sharing plans, and olher similar debts

            fl   Y."                                                    I   oth"r. speciry UCC-1       Financing Statement

 4.10       Farmers lnsurance Group                                     Last 4 digits of account number        5024                                        $46,090.00
            Nonpriority Creditor's Name
            Federal Credit Union                                        When was thê dêbt ¡ncurred?
            16001 N2SthAve
            Phoenix, AZ 85053-4050
            Numbèr Street City State Zlp Code                           As of the date you file, the claim ¡s: Check all that apply
           Who incurred the debt? Check one.
            I    Debtor 1 only                                          I   Contingent

            E    Debtor 2 only                                          !   Unliquidated
            E    Debtor   t   and Debtor 2 only                         E   Disputed
            E    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           E Cnecf if this cla¡m is for a commun¡ty                     E   Student loans
           debt                                                         E  Obligations arising out of a separation agreement or divorce that you did not
           ls the cla¡m subject to offset?                              report as prior¡ty claims
            I    ¡ro                                                    E   D"bt" to pension or profit-sharing plans, and other similar debts

            E    yes                                                    I   other. Specify




Official Form 106       E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 5 of   I
Software Copyright (c) 201    I   ClNGroup - www.c¡ncompass.com



        Case 2:18-bk-08695-BKM                                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                          Desc
                                                                  Main Document    Page 29 of 54
 Debtor   1    Oldfield, Kyle Christopher & Oldfield, Michelle
 Debtor 2      Louise                                                                                    Case number ft rno*)

 4.11      Navient                                                 Last 4 dig¡ts of account number        0792                                        $63,680.60
           Nonpriority Creditois Name
           Dept. of Education Loan Servicing                       When was the debt ¡ncurred?
           PO Box 9653
           Wilkes Barre, PA 18773-9653
           Number Street City State Zlp Code                       As of the date you file, the cla¡m is: Check all that apply
           Who incurred the debt? Check one.
           I   Debtor   I   only
                                                                   I   Contingent

           E   Debtor 2 only                                       I   unliquidated

           E   Debtor 1 and Debtor 2 only                          E   oisputed
                                                                   Type of NONPRIORITY unsecured claim:
           E   At least one of the deblors and another
           E   Check if this claim is for    a community           I   Student loans
           debt                                                    E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to ofbet?                          report as pr¡or¡ty claims
           Iruo                                                    E   Oebts to pension or profìt-sharing plans, and olher similar debts

           E   Ye"                                                 E   otner. Specity


 4.12      NW Preferred Federal Credit Union                       Last 4 digits of account number        4123                                        $15,000.00
                                                                   When was the debt incurred?
           PO Box 231269
           Tigard, OR 97281-1269
                                                                   As of the datê you file, the claim is: Check all that apply
           Who ¡ncurred the debt? Check one.
           E   Debtor 1 only                                       I   Contingent
           E   Debtor 2 only                                       I   Unliqu¡dated
           I   Debtor   I   and Debtor 2 only                      E   Disputed
           E   At least one of the debtors and another             Type of NONPRIORITY unsecured cla¡m:

           E Ctrect if this claim is for a commun¡ty               E   Student loans
           debt                                                    E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                         report as pr¡ority claims
           INo                                                     E   Debts to pension or profit-sharing plans, and other similar debts

           E   Yes                                                 I   other. Specify


 4.13      PayPal                                                  Last4 d¡g¡ts ofaccount     number 0945                                              $2,647.00
           Nonpriority Creditor's Name
                                                                   When was the dêbt incuned?
           POBox712O2
           Charlotte, NC           287 27   -1202
           Number Street City State Zlp Code                       As of the date you f¡le, the cla¡m is: Check all that apply
           Who ¡ncurfed the debt? Check one.
           E   Debtor   I   only                                   I   Contingent
           E   Debtor 2 only                                       I   Unliquidated
           I   Debtor 1 and Debtor2 only                           E   Disputed
           E   At least one of the debtors and another             Type of NONPRIORITY unsecured claim:
           E Check if this claim ¡s for a community                El Student loans
           debt                                                    E Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to ofbêt?                          report as priority claims
           Iruo                                                    E   Debts to pension or profit-sharing plans, and other similar debts

           E   Yes                                                 I   other. Speciû




Official Form 106    E/F                                 Schedule E/F: Crod¡toß Who Have Unsecured Claims                                                Page 6 of   I
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                           Desc
                                                            Main Document    Page 30 of 54
 Debtor 1      Oldfield, Kyle Ghristopher & Oldfield, Michelle
 Debtor 2      Louise                                                                                                 Case number (ttnow)

           US Dept. of Education Fed Loan
 4.14      Servicing                                                     Last4 digits ofaccount          number 5405                                                          $71,393.34
           Nonpriority Cred¡tor's Name
                                                                         When was the debt incurred?
           PO Box 69184
           Harrisburg, PA 17106-9184
           Number Street City State Zlp Code                             As of the date you f¡le, the claim ¡s: Check all that apply
          Who incurred the debt? Check one.
           E   Debtor 1 only                                             I     Contingent

           I   Debtor 2 only                                             I     unliquidated

           E   oebtor   I   and Debtor2 only                             E     Disputed
                                                                         Type of NONPRIORITY unsecured claim:
           E   At least one of the debtors and another
           E   Cnecf if th¡s claim ¡s fora commun¡ty
                                                                         I     Student loans
           debt                                                          E  Obligations arising out of a separation agreement or divorce that you did not
           ls the claim subject to offset?                               report as priority claims
           Iruo                                                          E     Oebts to pension or profìt-sharing plans, and other similar debts

           E   Yes                                                       E     Otner. Specifu


 4.15     Wells Fargo Visa                                               Last4 digits ofaccount          number 7827                                                            $5,709.72
           Nonprior¡ty Creditods Name
                                                                         When was the debt ¡ncurred?
           PO Box 77033
           Minneapolis, MN 55480-7733
           Number Street City State Zlp Code                             As of the date you f¡le, the claim is: Check all that apply
          Who incurred the debt? Check one.
           I   Debtor   I   only                                          I    Contingent

           E   Debtor 2 only                                              I    unliquidated
           E   Debtor   t   and Debtor 2 only                             E    Disputed
           E   At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

           E Gheck if this claim is for a community                       E    Student loans
           debt                                                           E Obligations arising out of a separation agreement or divorce that you did not
           ls the cla¡m subject to offiset?                              report as priority claims
           INo                                                            E    Debts to pension or prof¡t-shar¡ng plans, and other similar debts

           fl Y"s                                                         I    otner. Specify


I!fi|          L¡st Others to Be Not¡f¡ed About a Debt That You Already Listed
5. Use this page only if you have others to be notif¡ed about your bankruptcy, for a debt that you already l¡sted in Parts I or 2. For example, if a collection agency
   ¡s trying to collect from you for a debt you owe to someone else, l¡st the orig¡nal creditor in Parts I or 2, then list the collect¡on agency here. Similarly, if you
   have more than one cred¡tor for any of the debts that you listêd ¡n Parts I or 2, list thê additional creditors here. lf you do not have additional persons to be
   notif¡ed for any debts in Parts 1 or 2, do not f¡ll out or submit th¡s page.
 Name and      Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
 Farmers lnsurance Group                                          Line   4.9   of (Gheck    one.):                E   part t: Creditors with Priority Unsecured Claims
 Federal Credit Union                                                                                             I   purt 2' creditors with Nonpriority unsecured ctaims
 16001 N 28th Ave
 Phoenix, AZ 85053-4050
                                                                  Last 4 digits of account number

 Name and Address                                                 On which entry in Part      I   or Part 2 did you list the original creditola
 lnternal Revenue Service                                         Line   2.2   of (Check    one):                 I part : Creditors w¡th pr¡ority Unsecured Claims
                                                                                                                           1
 4041 N Central Ave#112                                                                                           E pa¡Z: Creditors w¡th Nonpriority Unsecured Claims
 Phoenix, AZ 85012-3335
                                                                  Last 4 digits of account number


fEEEt'I        Add the Amounts for Each Type of Unsecured Claim
6, Total thê amounts of cêrta¡n types of unsecured claims. This informat¡on is for statist¡cal report¡ng purposes only, 28 U.S.C.                          Sl 59. Add the amounts for each
   type of unsecurêd cla¡m.
                                                                                                                                             Totâl Cla¡m
                        6a.        Domestic support obligations                                                        6a.        $                           0.00

Offìcial Form 106    E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                                         Page 7 of 8
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                                  Desc
                                                            Main Document    Page 31 of 54
 Debtor 1     Oldfield, Kyle Ghristopher & Oldfield, Michelle
 Debtor 2                                                                                              Case number ft tnow)

 Total cla¡ms
  from Part I          6b.   Taxes and certa¡n other debts you owe thê govemment                        6b.     $                     0.00
                       6c.    Claims for death or personal injury while you were ¡ntox¡cated            6c.     $                     0.00
                       6d.   Other, Add all other priority unsecured claims. Write that amount here.    6d.     $                     0.00

                       6e.   Total Priority. Add lines 6a through 6d.                                   6e.     e
                                                                                                                                      0.00

                                                                                                                        Total Claim
                       6f.   Student loans                                                              6f.     $              135,073.94
 Total claims
  from Part 2          69.   Obligations arising out of a seperation agreement or d¡vorce that
                             you did not report as pr¡ority claims                                     69.      $                     0.00
                       6h.   Debts to pens¡on or prof¡t-sharing plans, and other sim¡lar dêbts          6h.     $
                       6i.   Other. Add all other nonpriority unsecured claims. Write that amount      bt.
                             here.                                                                              $              193,494.97

                       6j    Total Nonpriority. Add l¡nes 6fthrough 6i.                                6j.      $              328,568.9r




Official Form 106   E/F                                 Schedule E/F: Cred¡tors Who Have Unsecured Claims                                      Page   I   of   I
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



       Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                  Desc
                                                            Main Document    Page 32 of 54
                  Fill ¡n this information to identify your case

 Debtor       1               Kyle Christopher Oldfield
                              First   Name                       ¡/¡ddle Name          Last Name

 Debtor 2                     Michelle Louise Oldfield
 (Spouse if, filing)          First Name                         l\4iddle Name         Last Name


 United States Bankruptcy Court for             the:       DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (¡f known)
                                                                                                                                       I    Check if this is an
                                                                                                                                            amended filing



Official Form 106G
Schedule G: Executory Gontracts and Unexpired Leases                                                                                                         12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supply¡ng correct
informat¡on. lf more space ¡s needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       E No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       I      Yes. Fill in all of the information below even if the contacts of leases are listed on Schedute NB:Property(Official Form 106 A,/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, veh¡cle lease, cell phone). See the instructions for th¡s form in the instruction booklet for more examples of executory contracts and
       unexpired leases.


           Person or company with whom you have the contract or lease                     State what the contract or lease is for
                              Name, Number, Street, City, State and ZIP Code

    2.1           The Pickering Partnersh¡p of 85, lnc.                                      Office Lease
                  1825 E Northern Ave
                  Phoenix, AZ 85020-3940

    2.2           Toyota Financial Services                                                  Auto Lease
                  PO Box 5855
                  Carol Stream, lL 60197-5855




Official Form          106G                           Schedule G: Executory Contracts and Unexpired Leases                                                   Page   l of 1
Software Copyright (c) 20'18 ClNGroup - www.cincompâss.com



          Case 2:18-bk-08695-BKM                                  Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                      Desc
                                                                 Main Document    Page 33 of 54
                  Fill in this ¡nformat¡on to identify your case:

 Debtor       1                   Kyle Ghristopher Oldfield
                                  First Nâme                           Middlê Nâmê         Last Name

 Debtor 2                         Michelle Louise Oldfield
 (Spouse if, f¡ling)              First Name                           Middle Name         Last Name


 United States Bankruptcy Court for                 the:       DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (if known)
                                                                                                                                     E   Check if this is an
                                                                                                                                         amended filing


Official Form 106H
Schedule H: Your Godebtors                                                                                                                                12115

Codebtors are people or ent¡t¡es who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are f¡l¡ng together, both are equally responsible for supplying correct information, lf more space is needed, copy the Add¡t¡onal Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       l.   Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.

       I    trto
       E    Yes

       2,Within the last I years, have you lived in a commun¡ty property state or territory? (Community property states and territories include Arizona,
       California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       E    tr¡o. Go       to line 3.
       I    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                    D      t¡o
                    I      yes.


                              ln which community state or territory did you live?          .NONE.          Fill in the name and current address of that person


                             Name ol your spouse, tormer spouse, or legãl equ¡valent
                             Number, Street, City, Slate & Zip Code


   3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person ¡s a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                   Column 1: Your codebtor                                                                 Column 2: The credítor to whom you owe the debt
                   Name, Number, Street, City, State and ZIP Code                                          Check all schedules that apply:

                                                                                                           D   schedute D, tine
                    Name
                                                                                                           E   schedule E/F, line
                                                                                                           E   schedute c, tine
                    Number              Slreet
                    City                                       State                        ZIP Code




                                                                                                           E schedute D, tine
                    Name
                                                                                                           E schedute E/F, tine
                                                                                                           E schedule c, line

                    City                                       State                        ZIP Code




OfficialForm 106H                                                                      Schedule H: Your Codebtors                                     Page 1 of   1
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



        Case 2:18-bk-08695-BKM                                          Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                             Desc
                                                                       Main Document    Page 34 of 54
 Fill rn thrs rnformatron to rdentifv Vour case

 Debtor'l                      Kyle Christopher Oldfield
 Debtor 2                      Michelle Louise Oldfield
 (Spouse, ifl¡ling)


 United States Bankruptcy Court for       the:    DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number                                                                                                   Check if this is:
 (¡f known)
                                                                                                               E An amended filing
                                                                                                               E A supplement showing postpetition chapter 13
                                                                                                                   income as of the following date:

 Official Form 1061                                                                                                MM / DD/ YYYY
 Schedule l: Your                     lncome                                                                                                                    12r1s

supplying correct informat¡on. lf you are married and not filing jointly, and your spouse is l¡ving w¡th you, include information about your
spouse. lf you are separated and your spouse is not f¡l¡ng w¡th you, do not ¡nclude information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

lilll!il              Describe Emolovment

        Fill in your employment
        information.                                                 ,   Debtor   I                                   Debtor 2 or non-filing spouse

        lf you have more than one job,                                   I   Emptoyed                                 I   Employed
        ãttach a separate page with           Employment status
        information about additional                                     E   Not employed                             E   Not employed
        employers.
                                              Occupation                 lnsurance Broker/Agent                       Event Manager
        lnclude part-time, seasonal, or
        self-employed work.                   Employer's name            Self Employed                                Arizona State University

        Occupation may include student      or Employer's address        1825 E Northern Ave # 2154                   4ll N Gentral Ave # 750
        homemaker, if it applies.
                                                                         Phoenix, AZ 85020-3940                       Phoenix, AZ 85004-2163

                                              How long employed there?                2 years                                  6 vears

E;lltI                Give Detaits About Monthty lncome

Estimate monthly income as of the date you file th¡s form, lf you have noth¡ng to report for any line, write $0 in the space. lnclude your non-filing spouse
unless you are separated.

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the l¡nes below. lf you need more
space, attâch a separate sheet to this form.

                                                                                                                Debtor l-          i   For Debtor 2 or
                                                                                                                                   I   non-flllng spouse

        List monthly gross wages, salary, and commissions (before all payroll
 ^
 ¿.     deductions). lf not paid monthly, calculate what the monthly wage would be.                2.$                 0.00 $                   5,696.94

 3.     Estimate and list monthly overtime pay.                                                    3.     +$           0.00 +$                      0.00

 4.     Calculate gross lncome. Add line 2 + line 3.                                               4.      $         0.00     $              5,696.94




Official Form 106I                                                            Schedule   I: Your Income                                                     page   1




        Case 2:18-bk-08695-BKM                          Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                   Desc
                                                       Main Document    Page 35 of 54
     Debtor   1

     Debtor 2     Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                        Case number (tfknown)



                                                                                                                    Fói Debioi   1      For Debtor 2 or
                                                                                                                                          ,
                                                                                                                                      : non-filing spouse
          Gopy line 4 here                                                                              4           $             0.00 $          5,696.94
 5.       List all payroll deductions:
          5a.     Tax, Medicare, and Social Security deductions                                         5a.         $             0.00        $          729.16
          5b.     Mandatory contributions for retirement plans                                          5b.         $             0"00        $          647.66
          5c.     Voluntary contributions for retirement plans                                          5c.         $             0.00        $            000
          5d.     Required repayments of retirement fund loans                                          5d.         $             0.00        $            0.00
          5e.     lnsurance                                                                             5e.         $             0.00        $          363.76
          5f.     Domest¡c support obligations                                                          5f.         $             0.00        $            0.00
          59.     Union dues                                                                            5s.         $             0.00        $            0.00
          5h.     Other deductions. Specify:     Parkino                                                5h.+        $             0^00   +$               65.00
                  FSA                                                                                               $             0.00        $          416.67
                               nsurance                                                                             $             0.00        $           32.96
 6.       Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                            6.$                           0.00        $        2,255.21
 7.       Calculate total monthly take-home pay. Subtract line 6 from l¡ne 4.                       7. $                          0.00        $        3,4/.1.73
 8.       List all other income regularly rece¡ved:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                  Attach a statement for each property and business showing gross
                  receipts, ordinary and necessary business expenses, and the total
                  monthly net income.                                                               8a.             $             0.00        $            0.00
          8b.     lnterest and dividends                                                            8b.             $             0.00        $            0.00
          8c.     Fam¡ly support payments that you, a non-filing spouse, or a dependent
                  regularly receive
                  lnclude alimony, spousal support, child support, maintenance, divorce
                  settlement, and property settlement.                                              8c.             $             0.00        $            0.00
          8d.     Unemploymentcompensat¡on                                                          8d.             $             0.00        o
                                                                                                                                                           0.00
          8e.     Social Security                                                                   8e.             $             0.00        $            0.00
          8f.     Other government assistance that you regularly receive
                  lnclude cash assistance and the value (if known) of any non-cash assistance
                  that you receive, such as food stamps (benefits under the Supplemental
                  Nutrition Assistance Program) or housing subsidies.
                  Specify:                                                                          8f.             $             0.00        $            0.00
          89.     Pens¡on or ret¡rement ¡ncome                                                      89.             $             0.00        $            0.00
          th.     Other monthly ¡ncome, Specify:                                                    th. +           $             0.00   + $               0.00

 9.       Add all other income. Add lines 8a+8b+8c+8d+8e+Bf+Bg+Bh                                   9.          $                0.00         $                0.00

 10.      Calculate monthly income. Add line 7 + line g.                                          10.       $              0.00 +    g        3,M1.73      $             1.73
          Add the entries in line 1 0 for Debtor 1 and Debtor 2 or non-filing spouse.
 11       State all other regular contr¡butions to the expenses that you list in Schedule J.
          lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and
          other friends or relatives.
          Do not incf ude any amounts already included in lines 2-1 0 or amounts that are not available to pay expenses listed in Schedute J.
          Specify:                                                                                                                                11      +$             0.00

 12.      Add the amount in the last column of line l0 to the amount ¡n l¡ne 11. The result is the combined monthly ¡ncome.
          WritethatamountonlheSummaryofSchedu/esandSfatrsûba/SummaryofCertainLiabit¡tìesandRelatedDaf4ifitapplies                                 12      $           3,M1.73

                                                                                                                                                         monthly ¡ncome
 I   3.   Do you expect an ¡ncrease or decrease within the year after you file this form?
          I     No.
          tr       Yes. Explain:




Official Form 106I                                                             Schedule   I: Your Income                                                               pøge2

          Case 2:18-bk-08695-BKM                         Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                        Desc
                                                        Main Document    Page 36 of 54
 Fill in this rnformation to id         your casel

 Debtor   1
                         Kyle Christopher Oldfield                                                                Check if this is:
                                                                                                                  tr  An amended filing
 Debtor 2                Michelle Louise Oldfield                                                                 tr  A supplement showing postpetition chapter 13
(Spouse, if fìling)                                                                                                   expenses as of the following date:

 Un¡ted States Bankruptcy Court for     the:   DISTRICT OF ARIZONA, PHOENIX DIVISION                                    MM/DD/YYYY

Case number
(lf known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12t15
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach another sheet to this form. On the top of any add¡t¡onal pages, write your name and case number
(if known). Answer every quest¡on.

tÐ           Describe Your Household
      ls this a joint case?
      E       No. Go io line 2.
      I       Yes. Does Debtor 2 live in a separate household?

                  Iruo
                  E   Yes. Debtor 2 must file Official Form 1}6J-2,Expenses for Separate Househotdof Debtor 2.

2.    Doyou have dependents?               E    No
      Do not list Debtor 1        and      I    yes.     Fill out this information for   Dependent's relationship to      Dependent's        Does dependent
      Debtor 2.                                          each dependent..............    Debtor 1 or Debtor 2             age                live with you?

      Do not state the                                                                                                                       E   t¡o
      dependents names.                                                                  Son                              3                  I   yes
                                                                                                                                             Euo
                                                                                         Daughter                         1                  I Yes
                                                                                                                                            -Eruo
                                                                                                                                             E   Yes
                                                                                                                                             Eruo
                                                                                                                                             E   Yes
3.    Do your expenses include                       INo
      expenses of people other than
      yourself and your dependents?                  E   Yes


lÐ         Estimate Your ongo¡ng Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using th¡s form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is f¡led, lf this is a supplemental Schedule J, check the box at the top of the form and fill ¡n the
applicable date.

lnclude expenses paid for with non.cash government assistance if you know the
value of such assistance and have included it on Schedule l: Your lncome
(Official Form 1061.)                                                                                                           Your

4.    The rental or home ownership expenses for your residence. lnclude first mortgage
      payments and any rent for the ground or lot.                                                                4.$                            1,630.00

      lf not included ¡n line 4:

      4a.        Real estate taxes                                                                               4a.                                    0.00
      4b.        Property, homeowner's, or renter's insurance                                                    4b.                                    0.00
      4c.        Home maintenance, repair, and upkeep expenses                                                   4c.                                    0.00
      4d.        Homeowner's association or condominium dues                                                     4d.                                   27.25
5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                                    0.00




Official Form 106J                                                         Schedule J: Your Expenses                                                           page   1




     Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                               Desc
                                                          Main Document    Page 37 of 54
 Debtor       1

 Debtor 2               Oldfield, Kyle Christopher & Oldfield, Michelle Louise                              Case number (if known)

 6.       Utilities:
          6a.           Electricity, heat, natural gas                                                            6a.                                  225.00
          6b.       Water, sewer, garbage collection                                                              6b.                                  100.00
          6c.       Telephone, cell phone, lnternet, satellite, and cable services                                6c.                                  350.00
          6d.           Other. Specify:                                                                           6d.                                      0.00
 7.
 8.
 L
          Food and housekeeping supplies
          Ghildcare and children's educat¡on costs
          Clothing, laundry, and dry cleaning
                                                                                                                   7.
                                                                                                                   8.
                                                                                                                   9.
                                                                                                                             rc                        500.00

                                                                                                                                                           0.00
 10.      Personal care products and services                                                                     10.                                    40.00
 I   1.   Medical and dental expenses                                                                             11.                                      0.00
 12.      Transportation. lnclude gas, maintenance, bus or train fare.
          Do not include car payments.                                                                            12.   $                              400.00
 13.      Enterta¡nment, clubs, recreation, newspapers, magazines, and books                                      13.   $                              100.00
 14.      Charitable contr¡butions and religious donat¡ons                                                        14.   $                                0.00
 15.      lnsurance.
          Do not ¡nclude insurance deducted from your pay or included in lines 4 or 20.
          15a.          Life insurance                                                                           15a.   $                               147.00
          15b.          Health insurance                                                                         15b.   $                                0.00
          15c.      Vehicle insurance                                                                            15c.   $                              200.00
          15d.      Other insurance. Speciñ/:                                                                    r5d.   $                                0.00
 16.      Taxes, Do not includetaxes dedu
          Specify:                                                                                                16.   $                                 0.00
 17       Installment or lease payments:
          17a.      Car payments for Vehicle 1                                                                   17a.   $                              339.00
          17b.      Car paymenis for Vehicle 2                                                                   17b.   $                              203.00
          17c.      Other. Specify:        2017 Sienna Lease Payment                                             17c.   $                              419.99
          17d.      Other. Specify:                                                                              r7d.   $                                0.00
 I   8.   Your payments of alimony, maintenance, and support that you did not report as
          deducted from your pay on line 5, Schedule l, Your lncome (Oflicial Form 1061).                         18.   $                                 0.00
 19.      Other payments you make to support others who do not live with you.                                           $                                 0.00
          Specify:                                                                                                19.
20.       Other              property expenses not             in lines 4 or 5   this        or on Schedule l: Your lncome.
          20a.          Mortgages on other property                                                             20a. $                                     0.00
          20b.          Real estete tâxes                                                                       20b. $                                     0.00
          20c.          Property, homeowner's, or renter's insurance                                            20c. $                                     0.00
          20d.          Maintenance, repair, and upkeep expenses                                                20d. $                                     0.00
          20e.          Homeowner's association or condom¡nium dues                                             20e. $                                     0.00
21.       Other:        Specify: Student Loans                                                                   21. +$                                800.00
22.       Calculate your monthly expenses
          22a. Add lines 4 through 21          .                                                                             $                    7,531.24
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
          22c. Add line 22a anó 22b. The result is your monthly expenses.                                                    $                    7,531.24
23.       Calculate your monthly net income.
          23a.      Copy line |2(your combined monthly income) ftom Schedule            l.                      23a.    $                            3,4/.1.73
          23b.      Copyyour monthlyexpenses from line 22c above.                                               23b.    -$                           7,531.24

          23c.      Subtract your monthly expenses from your monthly income.
                    The result is your monthly net ¡ncome.                                                      23c.    $                           -4,089.51

24.       Do you expect an increase or decrease in your expenses w¡thin the year after you file this form?
          For example, do you expect to fìnish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
          modification to the terms of your mortgage?
          I       No.
          E   Yes                   Explain here:




Official Form 106J                                                       Schedule J: Your Expenses                                                                    page 2


      Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                 Desc
                                                           Main Document    Page 38 of 54
                  Fill in this ¡nformat¡on to identify your case

 Debtor       1                         c                Oldfíeld

 Debtor 2                      Michelle Louise Oldfield
 (Spouse if, fìling)           F¡rst Name                       Middle Name                   Last Name


 United States Bankruptcy Court for              the:     DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (¡f known)
                                                                                                                                                 I         Check if this is an
                                                                                                                                                           amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Gertain Statistical lnformation                                                                                       12115
Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
¡nformat¡on, Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Enf                SummarizeYour Assets

                                                                                                                                                      '   Your assets
                                                                                                                                                          Valqe¡f utttat ¡p!¡ ol44
        Schedule A/B: Propefi (Official Form 1064/8)
        1a. Copy line 55, Total real estate, from Schedule A,/8.                                                                                           $             345,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B                                                                                       $             168,996.47

        1c. Copy line 63, Total of all property on Schedule A/8...                                                                                         $             513,996.47

 Part2             Summarize Your Liabilities

                                                                                                                                                          You¡ l¡ab¡l¡ties
                                                                                                                                                      ,   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form ''l06D)
        2a. Copy the total you listed in Column Pt$mount of claím, at the bottom of the last page of Part 1 of Schedule D...                               $             350,297.32

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form l06E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e dchedule                                                            $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j $chedule E/F.........................                            $             328,568.91


                                                                                                                           Your total liabilit¡es $                  678,866.23


IÐfI               Summarize Your lncome and Frnenses

 4.     Schedule l: Your lncome(Official Form 1061)
        Copy your comb¡ned monthly income from line 12 o$chedule                  1..                                                                      $                 3,441.73

 5.     Schedule J: Your Expenses (Official Form 1 06J)
        Copy your monthly expenses from line 22c of Schedule J.                                                                                            $                 7,531.24

 Part 4            Answer These Questions for Adm¡n¡strative and Statistical Records

 6.     Are you filing for bankruptcy under Ghapters 7 , 11, o¡ 13?
        tr   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules


        I          Yes
 7      What kind of debt do you have?

        tr         Your debts are pr¡marily consumer debls. Consumer debfs are those "incurred by an individual primarily for a personal, family, or household
                   purpose."   1   1 U.S.C. S 1 01(8). Fill out lines 8-99 for statistical purposes. 28 U.S.CS   1   59.

        I          Your debts are not primarily consumer debts. You have noth¡ng to report on this part of the form. Check this box and submit this form to the
                   court with your other schedules.

 Official Form         106Sum               Summary of Your Assets and Liabilities and Certa¡n Statistical             lnformation                               page 1 of 2
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



        Case 2:18-bk-08695-BKM                                   Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                       Desc
                                                                Main Document    Page 39 of 54
  Debtor     1    Oldfield, Kyle Christopher & Oldfield,
  Debtor 2        Michel le Louise                                                               Case number (if known)

  L        From the Statement of You¡ Current ltlonthly lncome: Copy your total current monthly income from Official Form
           122A-1 Line 11;OR, Form 1228Line 11;OR, Form 122C-1 Line14.                                                                    $


  9.       Gopy the following special categor¡es of claims from Part 4, l¡ne 6       oÍ Schedule    EIF:

                                                                                                           ,   Total claim
       ,   Ffem Paf! 4 orr Schedule HF, copy ttre            fólbving:
           9a. Domestic support obligations (Copy line 6a.)                                                    $                   0.00

           9b. Taxes and certain otherdebts you owe the government. (Copyline 6b.)                             $                   0.00
           9c. Claims for death or personal injury while you were intox¡cated. (Copy line 6c.)                 $                    .00

           9d. Student loans. (Copy line 6f.)                                                                  $             135,073.94
           9e. Obligations aris¡ng out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 69.)                                                                $                   0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)           +$                     0.00


           99. Total. Add lines 9a through 9f                                                              $           135,073.94




Offìcial Form     t   06Sum                       Summary of Your Assets and Liabilit¡es and Certain Statistical lnformation                    page2ot 2
Sofrware Copyright (c) 20'18 ClNGroup - www.cincompass.com



           Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                Desc
                                                               Main Document    Page 40 of 54
      Fill in this information to ¡dentify your case

 Debtor      1              Kyle Christopher Oldfield
                            First Nâme                  Middle   Name         Last Name

 Debtor 2                   Michelle Louise Oldfield
(Spouse if, tiling)


 United States Bankruptcy Court for          the:   DISTRICT OF ARIZONA, PHOENIX DIVISION

Case number
(if known)
                                                                                                                             E    Check if this is an
                                                                                                                                  amended filing



Official Form 106Dec
Declaration About an lndividual Debtor's Schedules                                                                                                      12t15

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, conceal¡ng property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or ¡mprisonment for up to 20
years, or both. 18 U.S.C. SS 152,1341, l5lg, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


       INo
       tr Yes. Nameofperson                                                                               Attach Bankruptcy Petition Preparer's Notíce,
                                                                                                          Declaration, and Signature (Official Form 1 19)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       al they.algEtß a n d c orre ct.
      th

       */11ç     Kyle GÉfistopher Oldfi6ld
                                                                              x
                                                                                  Michelle Louise Oldfield
                 Signature of Debtor     1                                        Signature of Debtor 2

                 Date July 23,2018                                                Date Julv    23. 2018




       Case 2:18-bk-08695-BKM                            Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                     Desc
                                                        Main Document    Page 41 of 54
              Fill in this information to ident¡fy your case:

 Debtor       1                  Kyle Ghristopher Oldfield
                                 First Nâme                      M¡ddle Name                    rasr   rræ
 Debtor 2                        Michelle Louise Oldfield
 (Spouse ¡f, f¡ling)             First Name                      M¡ddle Name                    Last Name


 United States Bankruptcy Court for              the:       DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (if known)
                                                                                                                                                 E   Check if this is an
                                                                                                                                                     amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                        4t16
Be as complete and accurate as poss¡ble. lf two marr¡ed people are  filing together, both are equally responsible for supplying correct
¡nformation. lf more space is needed, attach a separate sheet to th¡s form. On the top of any add¡tional pages, write your name and case number
(if known). Answer every question.

EEllII             Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

       I          Married
       tr         Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

       INo
       tr Yes. List all of the places you lived in the last 3 years. Do not ¡nclude where you live now.
        Debtor 1 Prior           Address:                            Dates Debtor   I   lived      Debtor 2 Prior   Address:                             Dates Debtor 2
                                                                     there                                                                               lived there

3.   W¡thin the last 8 years, did you ever live with a spouse or legal equivalent in a commun¡ty property state or terr¡tory? (Community property
states and territories include Ar¡zona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

       trNo
       I          Yes. Make sure you fill out Schedu/e H: Your Codebtors (Official Form 1O6H).


 Part2             Explain the Sources of Your lncome

4.     Did you have any income from employment or from operating a business dur¡ng th¡s year or the two prev¡ous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part{ime activities.
       lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

       tr         No
       I          Yes. Fill in the deta¡ls.

                                                        Dqþlo¡   I                                                       DeþIel2
                                                        Sources of income                 Gross income                   Sources of income               Gross income
                                                        Check all that apply.             (before deductions and         Check all that apply.           (before deductions
                                                                                          exclusions)                                                    and exclusions)

 From January I of current year until                   E Wages, comm¡ss¡ons,                                $0.00       I                                       $31,329.00
                                                                                                                            Wages, commissions,
 the date you filed for bankruptcy:                     bonuses, tips                                                    bonuses, tips
                                                        I   Operating a business                                         E   Operating a business




Official Form      107                                      Statêmênt of Financial Affairs for lnd¡viduals Filing for Bankruptcy                                           page   I
Software Copyright (c) 201   I   ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                                    Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                               Desc
                                                                 Main Document    Page 42 of 54
  Debtor   1

  Debtor 2      Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                        Case numberlif*nowny


                                                    Debtor   f                                                       Debtor 2
                                                    Sources of income                  Gross income                  Sources of income               Gross income
                                                    Check all that apply.              (before deductions and        Check all that apply.           (before deductions
                                                                                       exclusions)                                                   and exclus¡ons)
  For last calendar year:                           E
  (January 'l to December 31,2017 |
                                                        Wages, commissions,                               $0.00      I   wages, commissions,                $54,489.00
                                                    bonuses, tips                                                    bonuses, tips
                                                    I   Operating a business                                         E   Operating a business

 For the calendar year before that:
 (January I to December 31,20161
                                                    E   Wages, commissions,                       $60,000.00         I   Wages, commissions,                $60,681.00
                                                   bonuses, tips                                                     bonuses, tips
                                                    I   Operating a business                                         E   Operating a business


5.    Did you receive any other ¡ncome during this year or the two previous calendar years?
      lnclude income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; moneycollected from lawsuits; royâlties; and gamblingãnd btterywinnings. lf
      you are filing a jo¡nt case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income thãt you listed in line 4.

       INo
       tr Yes. Fill in the details.
                                                   Debtor    I                                                       Dgblor    !
                                                         rces of income               Cross ¡ncôme riom              Sources of income               Gross income
                                                   Describe below.                    each source                    Describe below.                 (before deductions
                                                                                      (before deductions and                                         and exclusions)
                                                                                      exclusions)

fiffi|   List Certain Payments You Made Before you Fited for Bankruptcv

6. Are e¡ther Debtor I's or Debtor 2's debts pr¡marity consumer debts?
      I No. Neither Debtor I nor Debtor 2 has primarily consumer debls, Consumer                            debfs are defined in 11 U.S.C. S 101(S) as "incurred by an
                      individual primarilyfor a personal, family, or household purpose."

                      During the 90 days before you filed for bankruptcy, did ¡rou pay any creditor a total of $6,425. or more?
                       E No.      Go to line 7.
                       I Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                  creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do ñot include
                                   payments to an attorney for this bankruptcy case.
                      * Subject to adjustment
                                              on 4101 119 and every 3 years after that for cases filed on or after the date of adjustment.
      tr       Yes.   Debtor 1 or Debtor 2 or both have primarily consumer debts.
                      During the g0 days before you filed for bankruptcy, did you pay any creditor      a total of $600 or more?

                      E   No.      Go to line 7.
                      E   yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                   payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                   this bankruptcy case.


       Greditor's Name and Address                               Dates of payment              Total amount          Amount you        Was this payment for .,.
                                                                                                       paid              still owe
       PayPal                                                    Bi-weekly                        $1,256.00            $2,600.00       E Mortgage
       PO 8ox71202                                                                                                                     E car
       Gharlotte, NC        287 27   -1202                                                                                             E Credit Cerd
                                                                                                                                       E Loan Repayment
                                                                                                                                       E Suppliers or vendors
                                                                                                                                       I     otner




Officlal Form   107                                     Statement of Financial Affa¡rs for lnd¡v¡duals Filing for Bankruptcy                                        page2
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



       Case 2:18-bk-08695-BKM                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                             Main Document    Page 43 of 54
 Debtor 1
 Debtor 2       Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                        Case numberlr*nown¡


        Creditor's Name and Address                              Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                       paid             still owe
        ctTt                                                     Monthly                          $3,325.00          $22,050.00        E Mortgage
        PO Box 78045                                                                                                                   E car
        Phoenix, AZ 85062-8045
                                                                                                                                       I   Credit Card
                                                                                                                                       E   Loan Repayment
                                                                                                                                       E   Suppliers or vendors
                                                                                                                                       E   other

       ctTt                                                      413118   and   611118            $r,000.00          $24,010.00        E Mortgage
        PO Box 78045                                                                                                                   E car
        Phoenix, AZ 85062-8045
                                                                                                                                       I   Credit Card
                                                                                                                                       E   Loan Repayment
                                                                                                                                       E   Suppliers or vendors
                                                                                                                                       D other_

       Ghase-SW Gard                                             413118   and   4126118           $1,000.00          $r8,525.00        E Mortgage
       PO Box 6294                                                                                                                     E car
       Carol Stream, lL 60197-6294
                                                                                                                                       I   Credit Card
                                                                                                                                       E   Loan Repayment
                                                                                                                                       E   Suppliers or vendors
                                                                                                                                       E   other

       Chas-SW Card                                             Monthly                                $0.00         $12,260.00        E   Mortgage
       PO Box 6294
       Carol Stream, lL 60197-6294
                                                                                                                                       t   car
                                                                                                                                       I   Credit Card
                                                                                                                                       E   Loan Repayment
                                                                                                                                       E   Suppliers or vendors
                                                                                                                                       E   other

       American Express                                         Monthly                           $1,850.00          $17,876.00            Mortgage
       PO Box 0001                                                                                                                         Car
       Los Angeles, CA 90096-8000                                                                                                      I   Credit Card
                                                                                                                                       E Loan Repayment
                                                                                                                                       E Suppliers or vendors
                                                                                                                                       E other

       Farmers lnsurance Group                                  Monthly                           $1,017.00          $15,667.62        E   Mortgage
       16001 N 28th Ave                                                                                                                I   car
       Phoenix, AZ 85053-4050
                                                                                                                                       E Credit Card
                                                                                                                                       E Loan Repayment
                                                                                                                                       E Suppliers or vendors
                                                                                                                                       E other_

       Toyota Financial Services                                Monthly                           $1,259.97                    $0.00   E   Mortgage
       PO Box 5855                                                                                                                     I   car
       Carol Stream, lL 60197-5855
                                                                                                                                       E   Credit Card
                                                                                                                                       E   Loan Repayment
                                                                                                                                       E   Suppliers or vendors
                                                                                                                                       E   other




Official Form   107                                     Statement of Financial Affairs for lndividuals F¡l¡ng for Bankruptcy                                      page 3

Software Copyright (c) 20'18 ClNGroup - www.cincompãss.com



       Case 2:18-bk-08695-BKM                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                              Desc
                                                             Main Document    Page 44 of 54
    Debtor   1

    Debtor 2      Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                      Case number(,fknown)


        Creditor's Name and Address                              Dates of payment              Total amount          Amount you       Was this payment for .,.
                                                                                                       paid             still owe
        New Penn Financial                                       Monthly                          $4,890.00         $280,000.00       I    Mortgage
        PO Box 740039
        Cincinnati, OH 45274-0039                                                                                                     E car
                                                                                                                                      E Credit Card
                                                                                                                                      E Loan Repayment
                                                                                                                                      E Suppliers or vendors
                                                                                                                                      E other

        NW Preferred Federal Gredit Union                        Monthly                            $950.00          $15,000.00       E Mortgage
        PO Box 231269                                                                                                                 E car
        Tigard, OR 97281-1269                                                                                                         fl   Cred¡t Card
                                                                                                                                      E    Loan Repayment
                                                                                                                                      E    Suppliers or vendors
                                                                                                                                      I    other

        Farmers lnsurance Group                                  Monthly                          $2,661.00 $46,090.00 E Mortsage
        16001 N 28th Ave                                                                                                              E car
        Phoenix, AZ 85053-4050
                                                                                                                                      E Credit Card
                                                                                                                                      E Loan Repayment
                                                                                                                                      E    Suppliers or vendors
                                                                                                                                      r    other


7      Within I year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       /ns¡ders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
       which you are an officer, d¡rector, person in control, or owner of 20o/o or more of their voting securities; and añy managiñg agent, including one for a
       business you operate as a sole proprietor. 1 I U.S.C. $ 1 01 . lnclude payments for domestic support obligations, suctrãsih¡lO support anã alimony.

       ¡No
       tr Yes. List all payments to an insider
        lnsider's Name and Address                               Dates of payment              Total amount          Amount    you    Reason for this payment
                                                                                                       paid               still owe
8.     within ! year before you filed for bankruptcy, d¡d you make any payments or transfer any property on account of a debt that benefited an
       insider?
       lnclude payments on debts guaranteed or cosigned by an insider.

       INo
       tr Yes. List all payments to an insider
        lnsider's Name and Address                              Dates of payment               Total amount          Amount you       Reason for this payment
                                                                                                       paid               still owe   lnclude creditor's name

Mllt'I           ldentifv       Act¡ons. Reoossessions. and Foreclosures

9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or adm¡n¡strative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
       and contract disputes.

       INo
       tr Yes. Fill in the details.
        Case t¡tle                                              Nature ofthe    case          Gourt or agency                         Status of the case
        Gase number




Offìcial Form    107                                    Statement of Financ¡al Affa¡rs for lndividuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 201 8 ClNGroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                                Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                               Desc
                                                             Main Document    Page 45 of 54
    Debtor I
    Debtor 2      Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                         Case numberlir*nown¡


I   0.   Within I year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
         Check all that apply and fill in the details below.

         I      No. Go to line   1   1.
         tr     Yes. Fill in the information below.
             Creditor Name and Address                                 Describe the Property                                      Date                     Value of the
                                                                                                                                                              property
                                                                       Explain what happened

I   1.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
         accounts or refuse to make a payment because you owed a debt?
         INo
         tr Yes. Fill in the details.
          Creditor Name and Address                                    Describe the action the creditor   took                    Date act¡on   was            Amount
                                                                                                                                  takên

1   2.   Within I year before you fìled for bankruptcy, was any of your property ¡n the possession of an assignee for the benefit of creditors, a
         court-appointed receiver, a custodian, or another ofÍicial?
         INo
         tr     yes

EÞ.lfil          List Certain Gifts and Contributions

13. Within        2 years before you f¡led        for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         INo
         tr Yes. Fill in the details for each gift.
         Gifts with a total value of more than $600                per      Describe the   gifts                                  Dates you gave                 Value
           person                                                                                                                 the gifts

           Person to Whom You Gave the Gift and
         Address:

14. Within        2 years before you        filed for bankruptcy, did you g¡ve any gifts or contributions with a total value of more than $600 to any charit¡r?
         INo
         tr Yes. F¡ll ¡n the details for each gift or contribution.
          Gifts or contribut¡ons to charities that tota!                    Describe what you   contributed                       Dates   you                    Value
          more than $600                                                                                                          contr¡buted
         Charity's Name
         AddreSS      (Number, Street, C¡ty, State and ZIP Code)


llEl!il          List Certain Losses

15.      Within I year before you filed for bankruptcy or s¡nce you filed for bankruptcy, did you lose anything because of theft, fire, other d¡saster,
         or gambling?

         INo
         tr Yes. Fill in the details.
         Describe the property you lost and                        Describe any insurance coverage for the loss                   Date of your        Value of property
         how the loss occurred                                                                                                    loss                             lost
                                                                   lnclude the amount that insurance has paid. List pending
                                                                   insurance claims on line 33 ofSchedule NB: Property.

llllllil         L¡st cêrtãin Pavments or Transfers

16. Within      1 year before you fìled for bankruptcy, did you or anyone else act¡ng on your behalf pay or transfer any property to anyone you
         consulted about seek¡ng bankruptcy or preparing a bankruptcy pet¡t¡on?
         lnclude any attorneys, bankruptcy petit¡on preparers, or credit counseling agencies for services required in your bankruptcy.

         trNo
         I      Yes. Fill in the details.
         Person Who Was Paid                                                Descr¡ption and value of any property                 Date payment or           Amount of
         Address                                                           transferred                                            transfer was                payment
         Email or website address                                                                                                 made
         Person Who Made the Payment, if Not You
Offìcial Form 107                                          Statement of F¡nancial Affairs for lnd¡v¡duals Filing for Bankruptcy                                   page 5

Sof¡Mare Copyright (c) 2018 ClNcroup - www.cincompass.com



         Case 2:18-bk-08695-BKM                                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                       Desc
                                                                   Main Document    Page 46 of 54
  Debtor    1

  Debtor 2        Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                          Case numberlrr*nown¡


          Person Who Was Paid                                             Description and value of any property                    Date payment or              Amount of
        Address                                                           transferred                                              transfer was                  payment
          Email or website address                                                                                                 made
          Person Who Made the Payment, if Not You
        Aiken Schenk Hawkins & Ricciardi                                  0.00                                                     6/19/18                      $2,335.00
          P.C.
        2390 E Camelback Rd Ste 400
        Phoenix, AZ 85016-3479


17    Within I year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal w¡th your creditors or to make payments to your cred¡tors?
       Do not include any payment or transfer that you listed on line 16.

       INo
       tr Yes. Fill in the details
        Person Who Was Paid                                               Description and value of any property                    Date payment or              Amount of
       Address                                                            transferred                                              transfer was                  payment
                                                                                                                                   made

18. Within 2 years before    you filed for bankruptcy, did you sell, trade, or otherurise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or f¡nanc¡al affairs?
      lnclude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
      gifts and transfers that you have already listed on this statement.
      trNo
      I         Yes. Fill in the detâils.
       Person Who Received Transfer                                       Descr¡ption and value of                    Describe any property or        Date transfer was
       Address                                                            property transferred                        payments received or debts      made
                                                                                                                      pa¡d ¡n exchange
       Person's relat¡onsh¡p to you
       Debtors                                                            $14,000 (early withdrawal                                                   4124118   and
       29203 N 50th Pl                                                    from IRA Acct No. x1785)                                                    614118
       Gave Creek, AZ 85331-2350

       Self

19. With¡n 10 years before   you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protect¡on devrbes_)
      INo
      tr Yes. Fill in the details.
       Name of       trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                                     made

EEllfil          List of Certain F¡nánciãt                     lnstruments. Safe Deoosit Bores- and Stôrâoe Units

20.   Within I year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      lnclude checking, savings, money market, or other financ¡al accounts; cert¡f¡cates of deposit; shares in banks, credit un¡ons, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
      lNo
      tr Yes. Fill in the details.
       Name of Financial lnstitution and                            Last 4 digits of            Type of account or            Date account was       Last balance before
       AddreSS       (Number, Streêt, City, State and Ztp           account number               instrument                   closed, sold,           closing or transfer
       Codê)
                                                                                                                              moved, or
                                                                                                                              transferred




Offìcial Form    107                                        Statement of F¡nancial Affairs for lndividuals F¡l¡ng for Bankruptcy                                      page 6

Software Copyright (c) 20 8 ClNGroup - www.c¡ncom pass.com
                          1




        Case 2:18-bk-08695-BKM                                    Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                          Desc
                                                                 Main Document    Page 47 of 54
    Debtor    1

    Debtor 2        Oldfield, Kyle       G hristopher         & Oldfield, Michelle Louise                                      Case numberlir*nown¡


 21   .   Do you now have, or did you have within                   I   year before you filed    for bankruptcy, any safe depos¡t box or other depos¡tory for securities,
          cash, or other valuables?

          fNo
          tr Yes. Fill in the detaits.
           Name of Financia! lnstitut¡on                                       l/Vho else had access to        it?             Describe the contents                 Do you   still
           Addfess     (Number, Street, C¡ty, State and Zp    Code)            AddreSS (Number, Street, C¡ty,    State                                               have it?
                                                                               and ZIP Code)

 22.      Have you stored property in a storage unit or place other than your home within                                I   year before you filed for bankruptcy?

          INo
          tr Yes. Fill in the details.
           Name of Storage Facility                                            Who else has or had        access              Describe the contents                  Do you   still
           AddreSS     (Number, Street, Ctty, State and Ztp   Code)            tO ¡t?                                                                                have it?
                                                                               Address    (Number, Streer, Ctty, Srare
                                                                               and ZIP Code)

EÞÍtlI             ldent¡fv              You Hold or Control for Someone Else

23.       Do you hold or control any property that someone else owns? lnclude any property you borrowed from, aÍe storing for, or hold in trust                                       for
          someone.

          trNo
          I       Yes. Fill in the deta¡ls.
           Owner's Name                                                        l/Vhere is the property?                       Describe the property                               Value
           AddfesS (Number, Streêt,     City, State and Ztp Code)              (Number, Street, C¡ty, State and AP
                                                                               Codo)
           Jill Bower                                                          29203 N 50th Pt                                Golf Clubs                                      $300.00
                                                                               Cave Creek, AZ
                                                                               85331-2350

           Sandra O'Donnell                                                    29203 N 50th Pl                                Golf Clubs                                      $300.00
                                                                               Gave Creek, AZ
                                                                               85331-2350

           Debtors' Children                                                   29203 N 50th Pt                                Miscellaneous clothing and                         $0.00
           29203 N 50th Pt                                                     Cave Creek, AZ                                 household furnishings
           Cave Creek, AZ 85331-2350                                           85331-2350

lltllil            G¡.o           About Environmental

For the purpose of Part 10, the following defínitions apply:

t          Env¡rcnmentat rawmeans any federal, state, ot local statute or regulation concerning potlution, contaminat¡on, releases of hazardous or
          tox¡c substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulat¡ons
          controlling the cleanup of these substances, wastes, or material.
I         Sife means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
          own, operate, or util¡ze it, ¡nclud¡ng disposal sites.
I         Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, tox¡c substance, hazardous
          material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.       Has any governmental unit notified you that you may be liable or potent¡alty liable under or ¡n viotation of an environmental law?

          ¡No
          tr Yes. Fill in the details.
          Name of site                                                        Governmental unit                                   Environmental law, if you          Date of notlce
          AddfeSS ¡t'tumOer,    Strsot, C¡ty, Stato and Ztp Code)             Address (Number, Stroêt,     C¡ty, Stato and        know ¡t
                                                                              ZIP Code)




Official Form      107                                        Statement of F¡nancial Affairs for lndividuals F¡l¡ng for Bankruptcy                                                page 7
Software Copyright (c) 2018 ClNGroup - www.c¡ncompass.com



           Case 2:18-bk-08695-BKM                                    Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                    Desc
                                                                    Main Document    Page 48 of 54
    Debtor't
    Debtor 2        Oldfield, Kyle Christopher & Oldfield, Michelle Louise                                                         Case numberlir*nown¡


 25.    Have you notified any governmental unit of any release of hazardous material?

        INo
        tr Yes. Fill in the details.
           Name of site                                                             Governmental unit                                 Env¡ronmental law, if you             Date of not¡ce
           AddreSS (Number,        Street, C¡ty, State and   Zp   Code)             AddreSS     ¡HumOer, Street, Ctty, State and      know it
                                                                                    ZIP Code)

 26.    Have you been a party in any judic¡al or administrative proceeding under any environmental law? lnclude setflements and orders.

        INo
        tr Yes. Fill in the deta¡ls.
           Case Title                                                               Gourt or agency                                Nature of the case                       Status of the
           Case Number                                                              Name                                                                                    case
                                                                                    Address    (Number, street, C¡ty, Srate
                                                                                    and ZIP Code)

Elll¡lI            Give Detaits              Your Business or Connections to Ànv Business

27.     Within 4 years before you filed for bankruptcy, did you own a business or have any of the follow¡ng connections to any business?
             E A sole proprietor or self-employed ín a trade, profession, or other act¡vity, either full-time or part-time
               I    A member of a lim¡ted liab¡l¡ty company (LLC) or limited liability partnership (LLP)

               E    A partner in a pañnership

               E    An officer, director, or managing execut¡ve of a corporat¡on

               El An owner of at least 5% of the voting or equity securities of a corporat¡on
        tr     No. None of the above             applies, Go to part         ,12.

        ¡      Yes. Check all that apply above and                    fill in the details belowfor each business.
              Name
           Business                                                         Describe the nature of the          business               Emptoyer ldentification number
        Address                                                                                                                        Do not include Social Security number or lTlN.
        (Number, Street, C¡ty, State and ZIP      Code)                     Name of aCCOuntant or bOOkkeeper
                                                                                                                                       Dates business existed
        The Kyle Oldfield Agency, LLC                                       lnsurance Agency                                           EIN:        xx-xxx0052
        29203 N 50th Pl
        Cave Creek, AZ 8533f-2350                                                                                                      From-To 4t2016 to present

28.    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? lnclude all financial
       institutions, creditors, or other part¡es.

        lNo
        tr Yes. Fill ¡n the deta¡ls below.
        Name                                                               Date lssued
        Address
        (Number, Street, City, State and ZIP Code)

lEã?lDI s¡¡.            Below

                                                                                                                                                           perjury that the answers are
                                                                                                                                                           by fraud in connection with a




                   of Debtor   I                                                        Signature of Debtor 2

 Date                          l8                                                       Date       Julv 23.2018
Did you attach additional pages to Your Statement of Financial Affairs for tndividuals Filing                                       for Bankruptcy (Olficial Form   107)?
I  t¡o
E    Yes
Official Form   107                                               Statement of Financial Affairs for lndividuals Fil¡ng for Bankruptcy                                                 page   I
Sofiware Copyright (c) 201B ClNcroup - www.c¡ncompass.com



           Case 2:18-bk-08695-BKM                                          Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                    Desc
                                                                          Main Document    Page 49 of 54
  Debtor   1

  Debtor 2      Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                       Case numberlif*nown¡



 Did you pay or agree to pay someone who is not an attorney to help you                   fill out bankruptcy forms?
 INo
 El Yes. Name of Person-. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Off¡ciat Form 1 19).




Official Form   107                                    Statement of F¡nancial Affairs for lnd¡v¡duals Fillng for Bankruptcy                page 9
Software Copyright (c) 2018 ClNcroup - www.cincompass.com



        Case 2:18-bk-08695-BKM                               Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                         Desc
                                                            Main Document    Page 50 of 54
                  F¡ll ¡n th¡s information to identify your case:

 Debtor       1               Kyle Ghristopher Oldfield
                              Fìrst   Name                    Middle Nâme                     ffi
 Debtor 2                     Michelle Louise Oldfield
 (Spouse if, fìling)          First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for           the:      DISTRICT OF ARIZONA, PHOENIX DIVISION

 Case number
 (if known)
                                                                                                                                            E   Check if this is an
                                                                                                                                                amended filing



Official Form 108
Statement of lntention for lndividuals Filin g Under Ghapter 7                                                                                                   12t't5

lf you are an individual filing under chapter 7, you must               fill out th¡s form if:
I   creditors have claims secured by your property, or
I you have leased personal property and the tease has not expired.
You must file this form with the court within 30 days after you f¡le your bankruptcy petition or by the date set for the meeting of cred¡tors,
        whichever is earlier, unless the court extends the t¡me for cause. You must also send cop¡es to the cred¡tors and lessors you list on
        the form

lf two married people are filing together in a joint case, both are equally responsible for supply¡ng correct informat¡on. Both debtors must sign
          and date the form,

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                  write your name and case number (if known).

IEEll              List Your Greditors Who Have Secured Claims

1. Fo_r any   creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claíms Secured by Propefi (Official Form 106D), fill ¡n the
    information below.
     rdentify the credrtor and the properry that is coilarerat                       ro do u,trh rhe property                   thar
                                                                              HlXlj3Ji:;l;"nd                                           l:ï:ffii"åi       åli,åå:l""g

    Creditor's Farmers lnsuranceGroup                                         E    Surrender the property.                              E   ¡¡o
    name                                                                      E     Retain the property and redeem it.
                                                                              E    Retain the property and enter into a Reaffirmation   I   Yes
    Description        of   20141oyota Gamry                                       Agreement.
    property
                                                                              I    Retain the property and [explain]:
    securing debt:                                                                Retain and oav                  to contract


    Creditor's FarmerS lnSuranceGroup                                         E    Surrender the property.                              E   l.to
    name:                                                                     E     Retain the property and redeem it.
                                                                              E    Retain the property and enter into a Reaffirmation   I   yes
    Descr¡ption        of   2010 Toyota Prius                                      Agreement.
    property
                                                                              I    Retain the propertyand [explain]:
    securing debt:                                                                Retain and bâv                  to contract


    Creditor's New Penn Financial                                             E    Surrender the property.                              ENo
    name:                                                                     E     Retain the property and redeem it.

    Description of
                                                                              Û    Retain the property and enter into a Reaffirmation   I   yes
                            29203 N 50th Pl, Cave Creek,                           Agreement.
    property                AZ 85331-2350                                     I    Retain the propertyand [explain]:


Official Form        108                                 Statement of lntention for lndividuals Filing Under Chapter 7                                                page   1


Softwâre Copyr¡ght (c) 20 1 8 ClNGroup - www.cincompass.com




        Case 2:18-bk-08695-BKM                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                             Desc
                                                              Main Document    Page 51 of 54
 Debtor    1

 Debtor 2        Oldfield, Kyle Christopher & Oldfield , Michelle Louise                                       Case number(if   known)



     securing debt:                                                               Retain and pay pursuantto contract


     Creditor's ToyotaFinancialServices                                       I    Surrender the property.                                      INo
     name:                                                                    El    Retain the property and redeem it.
                                                                              fl   Retain the property and enter into ã Reaffirmation           E    Yes
     Descr¡ption    of       2017 Toyola Sienna 2WD                                Agreement.
     property                                                                 E    Retain the property and [explain]:
     securing debt:


 Par¡ 2
    any unexpired personal property lease         you                                               and Unexpired Leases
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lcase if the trustee does not assume ¡t. 11 U.S.C. S 365(pX2).

 De_gçriLe-ygqrq!!explr-_e-dpersg_!!alBlgprrtylqaseg_-                                                                                   Wll the lease be egsq!!|ed?   ,   -
 Lessor's name:                                                                                                                          E    tlo
 Descr¡ption of leased
 Property:
                                                                                                                                         E    Yes

 Lessor's name:                                                                                                                          Eruo
 Description of leased
 Property:
                                                                                                                                         EI   Yes

 Lessor's name:                                                                                                                          E    ¡.to
 Description of leased
 Property:
                                                                                                                                         E    Yes

 Lesso/s name:                                                                                                                           E    t¡o
 Description of leased
 Property:
                                                                                                                                         E    Yes

 Lessor's name:                                                                                                                          ENo
 Description of leased
 Property:
                                                                                                                                         EI   Yes

 Lessor's name:                                                                                                                          E    r.¡o
 Descr¡ption of leased
 Property:
                                                                                                                                         E    Yes

 Lessor's name:                                                                                                                          ENo
 Description of leased
 Property:
                                                                                                                                         E    Yes

f4E*I          sion Betow

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
                        to an unexqired lease.

 X                                                                                         xLit\-,\^W
                                                                                               Itfichelle Louise Oldfield
                                                                                                                                04,4
        Sig          of Debtor I                                                               Signature of Debtor 2
                                                                                                                                          V
        Date         Julv 23. 2018                                                         Date      Julv 23. 2018



Official Form    108                                        Statement of lntention for Individuals Filing Under Chapter 7                                         page 2

Software Copyright (c) 201   I   ClNGroup - www.cincom pass.com




        Case 2:18-bk-08695-BKM                                     Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                          Desc
                                                                  Main Document    Page 52 of 54
 Fill rn thrs rnformation to rdent¡fy your case                                                       Check one box only as directed ¡n thrs form and rn Form
                                                                                                           zzA- r òupp
 Debtor       1        Kylg Çhristopher Oldfield
                                                                                                       r




 Debtor 2
 (Spouse, iffling)
                       Michelle Louise Oldfield                                                             I       I - There is no presumption of abuse

                                                                                                            E       Z.   tre calculation to determine if a presumption of abuse
 United States Bankruptcy Court for         the:     District of Arizona, Phoenix Division
                                                                                                                         applies will be made undetChapfer 7 Means Test
                                                                                                                         Calculation (Official Form 1 22A-2).
 Case number
 (¡f known)
                                                                                                            E       S.   tne Means Test does not apply now because of qualified
                                                                                                                         military service but it could apply later.

                                                                                                            tr      Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Gurrent Monthly lncome                                                                                                                           12115

Be as complete and accurate as possible. lf two married people are f¡l¡ng togêther, both are equally responsible for being accurate. lf more space is needed, attach
a separate sheet to th¡s form. lnclude the line number to which the addit¡onal ¡nformation applies. On the top of any additional pages, write your name and case
number (if known). lf you believe that you are exempted from a presumpt¡on of abuse because you do not have primarily consumer debts or because of qual¡fying
m¡litary serv¡ce, complete and file Statement of Exemption from Prcsumption of Abuse Under $ 707(b)(2) (Official Form l22A-lSupp) with this form.

                  Galculate Your Current Monthly lncome
  1.   What ¡s your mar¡tal and filing status? Check one only.
        E     Not married. Fill out Column A, lines 2-1 1.
        I     Married and your spouse ¡s f¡l¡ng w¡th you. Fill out both Columns A and B, lines             2-1 1.

        E Married and your spouse is NOT filing with you. You and your spouse are:
          E Living in the same household and are not legalty separated. Fill out both Columns A and B, lines 2-l 1.
          E Living separately or are legally separated. Fill out Column A, lines 2-1 1; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that ¡/ou and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 1 1 U.S.C S 707(bX7XB).
    Fill¡ntheaveragemonthlyincomethatyoureceivedftomallsources,derivêdduringthe6fullmonthsbeforeyoufilethisbankruptcycase. llU.S.C.$
    f01(104). For example, if you are filing on September 15, the 6-month period would be March I through August 3'1. lf the amount of your monthly income vafied during the
    6 months, add the income for al! 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the ¡ncome from that property ¡n one column only. lfyou have nothing to report for any line, write $0 in the space.

                                                                                                                Column A                     Column B
                                                                                                                Debtor         I             Debtor 2 or
                                                                                                                                             non-filing spouse
  2.   Your gross wages, salary, t¡ps, bonuses, overtime, and commissions (before all
        payroll deductions).                                                                                    $                  0.00 $               5,258.72
  3.   Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                                                   $                  0.00 $                    0.00
  4.   All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. lnclude regular contributions
       from an unmarried partner, members of your household, your dependents, parents, and
       roommates. lnclude regular contributions from a spouse only if Column B is not filled in.
       Do not include payments you listed on line 3                                              $                                 0.00      $               0.00
  5.   Net incomefrom operating a business, profession, orfarm
                                                                                     Debtor    1

       Gross receipts (before all     deductions)                          $      0.00
       Ordinaryand necessaryoperating     expenses                        -$      0.00
        Net monthly income from a business, profession, or farm $                 0.00       Copy here -> $                        0.00      $               0.00
  6.    Net    incomefrom rental and other real property
                                                                                     Debtor    1

       Gross receipts (before all deductions)                              $      0.00
       Ordinary and necessary operating expenses                          -$      0.00
        Net monthly income from rental or other real property             $       0.00       Copy here.> $                         0.00      $               0.00
  7.   lnterest, div¡dends, and royalties                                                                       $                  0.00      $               0.00




Official Form        1224-1                                  Chapter 7 Statement of Your Gurrent Monthly lncome                                                          page   I
Software Copyright (c) 20'18 ClNGroup - www.c¡ncompass.com


        Case 2:18-bk-08695-BKM                                 Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                         Desc
                                                              Main Document    Page 53 of 54
 Debtor 1
 Debtor 2       Oldfield, Kyle Ghristopher & Oldfield, Michelle Louise                                          Case number(,fknown)




                                                                                                            Column A                     Column B
                                                                                                            Debtor     I                 Debtor 2 or
                                                                                                                                         non-filing spouse
  8.     Unemployment           compensation                                                                $                    0.00    $               0.00
         Do not enter the amount if you contend that the amount received was a benefit under the
         Social Security Act. lnstead, list it here:
            For you                                                        $                   0.00
            For your spouse                                                $                   0.00
  9.   Pension or retirement ¡ncome, Do not include any amount received that was a benefit
       under the Social Security Act.                                                                       $                    0.00    $               0.00
  1 0. lncome from all other sources not listed above. Specify the source and amount. Do

       not include any benefits received under the Social Security Act or payments received as
         a victim of a war crime, a crime against humanity, or international or domestic terrorism.
         lf necessary, list other sources on a separate page and put the total below.
                                                                                                            $                    0.00    $               0.00
                                                                                                            $                    0.00    $               0.00
                        Total amounts from separate pages, if any.                                      +   $                    0.00    $               0.00

  1 1   . Calculateyour total current monthly ¡ncomê, Add lines 2 through 10 for
         each column. Then add the total for Column A to the total for Column B.                  $               0.00            $     5,258.72             $        5,258.72


                                                                                                                                                             ¡ncome
 Paft2:             Determ¡ne Whether the Means Test Appl¡es to You

  12. Calculate your current monthly income for the year. Follow these steps:

         12a. Copy your total current monthly income from line             11                                        Copy line      l1 here=>            $            5,258.72

                Multiply by 12 (the number of months in a year)                                                                                               x12
         l2b.   The result is your annual income for th¡s part of the form                                                                        12b.   $        63,104.64

  13. Galculate the med¡an fam¡ly ¡ncome that applies to you. Follow these steps:

         Fill in the state in which you live.                                    AZ

         Fill in the number of people in your household                          4
         Fill in the median family income for your state and size of household.                                                     13.                  $
                                                                                                                                                                  75,900.00
         To find a list of applicable med¡an income amounts, go online using the link specified in the separate instructions for this
         form. This list may also be available at the bankruptcy cleltoffice.

  14. How do the l¡nes compare?

         14a.       I       Line 12b is less than or equal to line 1 3. On the top of page 1 , check box [þere is no presumpt¡on of abuse.
                            Go to Part 3.
         14b.       tr      Line 1 2b is more than line 1 3. On the top of page 1 , check box 4he presumption of abuse is determined by Form 122A-2.
                            Go to Part 3 and fill out Form 122A-2.
 Part 3:            Sign Below
                                                                     ury                   on         statement            any               is true     correct.

                X                                                                          X
                                 of                                                             Signature of Debtor 2
            Date Jufy 23,2018                                                         Date      July 23, 2018
                    MM/DD i YYYY                                                                MM/DD /YYYY
                lf you checked line 14a, do NOT fill out or file Form '122A-2.

                lf you checked line 14b, fill out Form 122A-2 and file it with this form




Official Form       122A-1                                  Chapter 7 Statement of Your Current Monthly lncome                                                             page 2
Software Copyright (c) 2018 ClNGroup - www.cincompass.com



         Case 2:18-bk-08695-BKM                              Doc 1 Filed 07/23/18 Entered 07/23/18 11:19:37                                                           Desc
                                                            Main Document    Page 54 of 54
